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               IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

LISA GARDNER and                             )
DAVID GARDNER,                               )
                                             )
               Plaintiffs,                   )
                                             )
v.                                           )     Civil Action No.
                                             )     1:20-CV-01843-WMR-RGV
BANK OF AMERICA, N.A.                        )
                                             )
               Defendant.                    )

            FIRST AMENDED COMPLAINT ADDING CLAIM FOR
                    TRANSGRESSION OF THE FCRA

        C OM E S NOW , L ISA G A R D NE R , Plaintiff in the above- s tyled m atter, by

and through couns el,and files this F irs t A m ended C om plaint for Injunctive R elief

and D am ages agains t D efendant B ank of A m erica, N.A ., adding a claim for

trans gres s ion ofthe F air C redit R eporting A ct,and s how ing this C ourt as follow s :

                     PARTIES, JURISDICTION, AND VENUE

     1. L is a G ardner, Plaintiff in the above- s tyled m atter, is a res ident of Henry

        C ounty, G eorgia and m ay be s erved through couns el at the below - lis ted

        addres s .

     2. B ank ofA m erica,N.A . B A NA           is a foreign corporation w ith its principal

        place of bus ines s located at 150 N C ollege St, NC 1- 02 8- 17- 06, C harlotte,




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    NC ,2 82 55,and B A NA has been property s erved through its regis tered agent

    C T C orporation Sys tem at 2 89S C ulver St,L aw renceville,G A ,3 0046.

                  FACTS RELEVANT TO ALL COUNTS
 3. This cas e involves a foreclos ure by B A NA on               property w hich lies

    next to the property w hich w as the intended s ecurity for a Hom e E q uity L ine

    ofC redit               in the am ount of$2 00,000.

 4. M rs .G ardner has been in the m ids t ofeconom ic hards hip for s om e tim e now

    becaus e the contractor w ho w as s uppos ed to build her Veterinary C linic in

    L ocus t G rove em bezzled over a m illion dollars and left her and her hus band

    on the hook to finis h her project and to pay for the cons truction loan    w hich

    w as s ecured by alloftheir realproperty.

 5. B A NA s hould have had the s uperior lien on                 res idential property

    but did not include the correct property des cription in its s ecurity deed,s o its

    s ecurity deed is void.

 6. E ven if it w ere not void, the s ecurity deed w as not properly recorded on

                res idence becaus e it had the w rong property des cription,and the

    inferior lienholder w ho financed M rs .G ardner s veterinary hos pitalw as able

    to foreclos e on            hom e in 2 017.

 7. B ecaus e its interes t w as w iped out,B A NA im properly s ought to exercis e its

    right offoreclos ure agains t            abutting property.


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 8. How ever, B A NA erroneous ly recorded the land des cription for M rs .

    G ardner s undeveloped lot next door,rather than the acreage underlying 2 75

    B utler B ridge D rive,as the s ecurity for the HE L OC :

    THE F OL L OW ING R E A L PR OPE R TY SITU A TE D IN C OU NTY
    OF HE NR Y A ND STA TE OF G E OR G IA , D E SC R IB E D A S
    F OL L OW S:
    A L L THA T TR A C T OR PA R C E L OF L A ND L Y ING A ND B E ING
    IN L A ND L OTS 78 A ND 79OF THE 8th D ISTR IC T OF HE NR Y
    C OU NTY , G E OR G IA , C ONTA INING 40.26A C R E S,A S SHOW N
    ON PL A T OF SU R VE Y M A D E F OR B OB B Y A B B OTT B Y JOE
    R OW A N, JR ., HE NR Y C OU NTY SU R VE Y OR , D A TE D
    JA NU A R Y 16 ,1986  ,R E C OR D E D ON PL A T B OOK 12 ,PA G E 14,
    HE NR Y C OU NTY R E C OR D S. THE D E SC R IPTION OF SA ID
    PR OPE R TY A S C ONTA INE D ON SA ID PL A T IS HE R E B Y
    INC OR POR A TE D HE R E IN A ND B Y R E F E R E NC E M A D E A
    PA R T HE R E OF .L E SS A ND E XC E PT:
    A L L THA T TR A C T OR PA R C E L OF L A ND L Y ING ON B E ING
    IN L A ND L OTS 78OF THE 8th D ISTR IC T OF HE NR Y C OU NTY ,
    G E OR G IA , C ONTA INING 1.42 A C R E S, A ND B E ING M OR E
    PA R TIC U L A R L Y D E SC R IB E D A C C OR D ING TO PL A T OF
    SU R VE Y M A D E F OR JOSE PH A R M OND D A NIE L L A ND E L SIE
    M . D A NIE L B Y JOHN M . M A SSE Y , JR ., G E OR G IA
    R E G ISTE R E D L A ND SU R VE Y OR NO.2 490, D A TE D A U G U ST
    2 8, 1993 , R E C OR D E D INPL A T B OOK 2 2 , PA G E 113 , HE NR Y
    C OU NTY R E C OR D S.THE D E SC R IPTION OF SA ID PR OPE R TY
    A S C ONTA INE D ON SA ID PL A T IS HE R E B Y INC OR POR A TE D
    HE R E IN A ND B Y R E F E R E NC E M A D E A PA R T HE R E OF .
    PR OPE R TY A D D R E SS:2 75 B U TL E R B R ID G E D R IVE
    A copy ofthe s ecurity D eed is attached hereto as E xhibit 1.




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 9. W hen the parties executed the s ecurity deed,allparties unders tood that the

       s ecurity for the HE L OC w as 2 75 B utler B ridge D rive, and they did not

       unders tand that the property des cription w as for her parcelnext door.

 10.The property addres s and the property des cription are in conflict.

 11. B ecaus e the deed is internally incons is tent, it is void.See i.e.Harpagon

       Co., LLC v. Gelfond,2 79G a.59,6
                                      1 (2 005).

 12.

       intent that the res idence w as the s ecurity for the line of credit.See i.e.

       Ceasar v. Wells Fargo Bank, N.A.,3 2 2 G a.A pp.52 9,53 1 3 2 ,744 S.E .2d

       36
        9, 3 73 , adopted sub nom. Ceasar v. Wells Fargo Bank (G a.State C t.

       2 013 );s ee als o SunTrust Bank v. Equity Bank, S.S.B., 3 12 G a.A pp.644,

       644,719S.E .2d 53 9,540 (2 011).

 13. Purs uant OC G A § 44- 5- 3 4,w hile the preceding of tw o conflicting claus es

                                                                   the intention of the

       parties s hould, if pos s ible, be as certained from the w hole ins trum ent and

       carried into effect.

 14. The clear intention of the parties w as that the home eq uity line of credit be

       s ecured by the hom e lis ted by s pecific addres s in the deed, 2 75 B U TL E R

                              See E xhibit 1 at 6.




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 15. F urther,B A NA ,at all tim es , repres ented that the HE L OC w as s ecured by

       2 75 B utler B ridge D rive,M cD onough,G A .See E xhibits 2 -

 16. B A NA does not is s ue HE L OC s on undeveloped parcels ofland.

 17. On D ecem ber 17,2 018,B A NA s ent a letter entitled Notice of right to cure

       the default and intent to accelerate ide

       M cD

       eq uity loan is in s erious default becaus e the req uired paym ents have not



       accelerate the HE L OC on 2 75 B utler B ridge D rive is attached hereto as

       E xhibit 2 .

 18.

       HE L OC had been foreclos ed upon by another lender,M rs .G ardner reached

       out to B A NA in order to m odify the HE L OC loan becaus e s he w is hed to

       repay her debt,w hether or not B A NA had s ecurity on it.

 19. To that end, B A NA accepted a paym ent on the HE L OC in 2 019, but

       s ubs eq uently refus ed any further paym ents , unles s they w ere paym ents in

       fullon the balance ofthe loan.

 20. In the cours e of applying for the m odification, M rs .G ardner and her

       hus band advis ed B A NA that it had erroneous ly recorded the w rong s ecurity

       for the HE L OC .To w it,the G ardners brought the im proper recording of the


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    undeveloped property as the s ecurity on the loan, w hile the parties had

    intended that 2 75 B utler B ridge D rive is the s ecurity on the loan.

 21. In res pons e, B A NA inform ed the G ardners that its legal departm ent does

    not m ake m is takes like that, and inform ed M rs .G ardner that 2 75 B utler

    B ridge is the s ecurity for the HE L OC .

 22. F ollow ing this as s urance by B A NA , the parties continued to treat 2 75

    B utler B ridge drive as the intended s ecurity for the loan.

 23. On January 18,2 019,B A NA s ent a letter to the G ardners identify ing 2 75

    B utler B ridge as the Property A ddres s of the HE L OC .See January 18,

    2 019letter identifying the Property A ddres s as 2 75 B utler B ridge D rive

    attached as E xhibit 3 .

 24. A ls o on January 18, 2 019, B A NA s ent corres pondence req ues ting

    additional docum entation by F ebruary 2 1, 2 019 to find out if you m ay

    q ualify for a hom e loan m odification. See January 18, 2 019hom e loan

    m odification letter from B A NA attached as E xhibit 4.

 25. W hile M rs .G ardner and B A NA w ere negotiating a m odification on the

    HE L OC , on F ebruary 2 1, 2 019, B A NA had M rs . G ardner execute a

    verification of occupancy for 2 75 B utler B ridge D rive becaus e 2 75 B utler




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            B ridge D rive is the s ecurity for the deed.A copy of the Verification of

            Occupancy for 2 75 B utler B ridge D rive is attached hereto as E xhibit 5.1

       26. On F ebruary 2 2 ,2 019,B A NA s ent a letter to the G ardners identifying 2 75

            B utler B ridge as the Property A ddres s of the HE L OC .See F ebruary 2 2 ,

            2 019letter identifying the Property A ddres s as 2 75 B utler B ridge D rive

            attached as E xhibit 6.

       27. A ls o,on F ebruary 2 2 ,2 019,B A NA s ent a letter to the G ardners thanking

            them for their financial docum entation and for beginning the hom e loan

            as s is tance proces s .See F ebruary 2 2 , 2 019letter regarding beginning the

            hom e loan as s is tance proces s attached as E xhibit 7.

       28. On F ebruary 2 6,2 019,B A NA s ent a letter to the G ardners as king for m ore

            inform ation and docum entation in s upport of their hom e loan as s is tance



            attached hereto as E xhibit 8.

       29. W hile M rs .G ardner and B A NA w ere negotiating a m odification on the

            HE L OC ,B A NA ordered an apprais alon 2 75 B utler B ridge D rive as part of

            the m odification becaus e the intent of the parties w as that 2 75 B utler B ridge

            D rive is the s ecurity for the deed.

       30. On M arch 8,2 019,B A NA s ent the G ardners a letter s tating as follow s :


1
    The G ardners rented 2 75 B utler B ridge D rive a t that tim e.

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                                                                         r L etter and

    A pprais alof2 75 B utler B ridge D rive attached hereto as E xhibit 9.

 31. On M ay 16,2 019,B A NA again s ent a letter to the G ardners identifying 2 75

    B utler B ridge D rive as the proper

    a recent change in the s tatus of your hom e loan as s is tance req ues t,you w ill



    16,2 019letter is attached hereto as E xhibit 10.

 32. On M ay 7, 2 019, B A NA , through its debt collection law firm , w hich

    ultim ately conducted the foreclos ure on the undeveloped parcel, s ent a

    dem and letter identifying 2 75 B utler B ridge D rive as the Security for the

    HE L OC ,and s tating that the HE L OC can be reins tated for $184,484.24.The

    M ay 7,2 019D ebt C ollection L etter is attached as E xhibit 11.

 33. D es pite t                                            ed the res idence at 2 75



    executed by the s am e debt collection law firm on July 3 1, 2 019, claim ing



    addres s as 2 75 B u                      See A ffidavit attached as E xhibit 12 .




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 34. B A NA failed to m ailnotice or its new pos ition that it had m ade a m is take,

    that the undeveloped property w as s ecurity for the loan,that it intended to

    foreclos e on the undeveloped parcel,or that it w as initiating foreclos ure on

    the undeveloped parcel to M rs .G ardner prior to initiating a foreclos ure on

    the Security D eed.

 35. Ins tead,B A NA s ent corres pondence to the G ardners on Novem ber 16,2 019

    inviting them to apply for a loan m odification,s tating [i]fyou w ould like to

    s tay in your hom e or otherw is e avoid foreclos ure,you m ay be interes ted in

    options provided in this letter        and     w e can provide help w ith your

    hom e eq uity line of credit     A copy of B A NA s Novem ber 16
                                                                   ,2 019letter

    is attached as E xhibit 13 .

 36. B A NA then foreclos ed on M rs .G ardner

    2 02 0.

 37. F urther,B A NA s ent a letter to 2 75 B utler B ridge D rive to notify the tenant

    that B A NA had foreclos ed on that property,and lis ted that addres s for s ale,

    all s how ing B A NA had intended to us e 2 75 B utler B ridge D rive as

    collateral,and that its internal s ys tem treated it as the collateral,even after

    the date ofthe foreclos ure.

 38. A fter being notified by the current ow ner that it does not have a deed to 2 75

    B utler B ridge D rive,B A NA w ithdrew its lis ting.


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                 COUNT I. WRONGFUL FORECLOSURE

 39. M rs .G ardner re- alleges and incorporate all preceding paragraphs of this

    C om plaint as iffully s et forth herein.

 40. A s previous ly addres s ed hereinabove,B A NA did not have a legal right to

    foreclos e on             property.

 41. A s the holder of the purported Security D eed, purs uant to OC G A § 2 3 - 2 -

    114, pow ers of s ale s hall be s trictly cons trued                           , yet

    B A NA breached its duty to fairly exercis e its pow er of s ale w hen it firs t

    filed a fals e affidavit and then foreclos ed on property bas ed on an    at bes t

    am biguous property des cription.

 42. B A NA w as obligated conduct the foreclos ure in good faith and in a fair

    m anner.

 43. D es pite B A NA s duty, it firs t repres ented that 2 75 B utler B ridge D rive is

    the s ecurity for the HE L OC from the inception and throughout the life ofthe

    loan,but foreclos ed on the undeveloped parcel next door w ithout notifying

    Plaintiffthat B A NA had determ ined that w as the collateral.

 44. D es pite the fact that the s ecurity deed w as void,B A NA foreclos ed on the

    undeveloped parcelnext door to 2 75 B utler B ridge D rive.

 45. D es pite the fact that the Security deed lis ts 2 75 B utler B ridge D rive as the

    hom e that s ecured the Hom e E q uity L ine ofC redit,B A NA foreclos ed on the


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           undeveloped parcel next door,w hich is not a hom e nor the s ecurity for the

           HE L OC .

     46. D efendant breached its duty by acting intentionally and in bad faith in filing

           a fals e affidavit to facilitate foreclos ure on property to w hich it had no

           interes t.

     47. D efendant acted reckles s ly by foreclos ing on one property w hile its internal

           records indicated the s ecurity for M rs .G ardner s loan w as her res idential

           addres s 2 75 B utler B ridge D rive,M cD onough,G A .

     48.                                     ,w hen it had no legal right to foreclos e,is a

           breach of its duties under OC G A § 2 3 - 2 - 114.See DeGolyer v. Green Tree

           Servicing, LLC,2 91 G a.A pp.444 (2 008),q uoting Brown v. Freedman,2 2 2

           G a.A pp.2 13 (1996).

     49. F urther, B A NA breached its duties by conducting the foreclos ure w ithout

           firs t s ending notice to the G ardners .

     50. The intentional acts of D efendant, as referenced above, caus ed M rs .

           G ardner to s uffer s evere em otional dis tres s and anxiety, m ental anguis h,2

           negative credit,and to outlay

           this problem    including pos tage.

2
  DeGolyer v. Green Tree Servicing, LLC
foreclos ure a ction,an injured party m a y s eek dam ages for m entalanguis h in addition to
cancellation ofthe


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     51. A s a direct and proxim ate res ult of                         w rongful foreclos ure of

                      property,M rs .G ardner has s uffered extens ive dam ages .

     52. A s a res ult of                      w rongful foreclos ure and the intentional

        infliction of em otionaldis tres s on M rs .G ardner,D efendant is liable to M rs .

        G ardner in an am ount to be determ ined at trial.

     53.D efendant is liable to M rs .G ardner

        incurred as a res ult of                  w rongfulforeclos ure.

                           COUNT II. INJUNCTIVE RELIEF

     54. M rs .G ardner re- alleges and incorporates all preceding paragraphs of this

        C om plaint as iffully s et forth herein.

     55. B ecaus e B A NA has w rongfully foreclos ed on                      property,s he s eeks

        cancellation ofthe January 2 02 0 foreclos ure s ale.3

     56. B as ed on               likelihood of s ucces s on the m erits , the likelihood of

        im m ediate and irreparable harm ,and the m inim um harm that w ould com e to

        D efendant, Plaintiff req ues ts that this C ourt enter a tem porary res training

        order agains t D efendant preventing D efendant from s elling

        property or taking any action to dis pos s es s her ofthe property.




3
  DeGolyer v. Green Tree Servicing, LLC                                         In a w rongful
foreclos ure a ction,an injured party m a y s eek dam ages for m entalanguis h in addition to



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 57. F ollow ing the is s uance of a tem porary res training order to im m ediately

       protect agains t im m ediate and irreparable harm to M rs .G ardner, s he is

       entitled to a hearing and interlocutory injunction in order to protect

                  interes ts after the expiration ofthe tem porary res training order.

 58.               likelihood of s ucces s on the m erits of this cas e,the likelihood of

       im m ediate and irreparable injury,and the m inim um harm that w ould com e

       to D efendant if s uch an injunction is is s ued,perm its this C ourt to enter an

       interlocutory injunction in order to pres erve the s tatus q uo and protect

                  interes ts untila finaljudgm ent is entered in this cas e.

                       COUNT III. PUNITIVE DAMAGES

 59. M rs .G ardner re- alleges and incorporates all preceding paragraphs of this

       C om plaint as iffully s et forth herein.

 60. Purs uant to OC G A § 51- 12 - 5.1(a),M rs .G ardner avers and w ould s how that

       the acts ofthe D efendant as referenced hereinabove cons titute that degree of

       w antonnes s and that entire w ant of care w hich w ould rais e the pres um ption

       ofa cons cious indifference to the cons eq uences .

 61. Purs uant to OC G A § 51- 12 - 5.1(d),M rs .G ardner is entitled to an aw ard of

       punitive dam ages in an am ount w hich is adeq uate to punis h and deter the

       D efendant from engaging in sim ilar acts in the future.




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                         COUNT IV.

 62. M rs .G ardner re- alleges and incorporate all preceding paragraphs of this

       C om plaint as iffully s et forth herein.

 63. A s previous ly referenced herein, M rs .G ardner is entitled to an aw ard of

                                     becaus e D efendant has acted in bad faith, has

       been s tubbornly litigious ,and ha s caus ed M rs .G ardner unneces s ary trouble

       and expens e.

               COUNT V: VIOLATION OF THE FAIR CREDIT
              REPORTING ACT         , 15 U.S.C. § 1681s-2(b)

 64.                                defined by s ections 16
                                                          81a(c)ofthe F C R A .

 65. B A NA is a furnis her of inform ation as contem plated by F C R A s ection

       16
        81s - 2 (a) &   (b), that regularly and in the ordinary cours e of bus ines s

       furnis hes inform ation to one or m ore cons um er reporting agencies about

       cons um er trans actions or experiences w ith cons um ers .

 66. On M arch 2 7, 2 02 0, Plaintiff s ent a dis pute letter to each of the three




       attached as E xhibits 14 - 16.

 67. On A pril2 1,2 02 0,M rs .G ardner s ent a follow - up dis pute to Trans U nion.

 68. On A pril2 7,2 02 0,M rs .G ardner s ent a follow - up dis pute to E xperian.



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 69.




 70. B A NA received notice from each C R A follow ing receipt of a dis pute from

       Plaintiff.

 71. B A NA re- verified its repres entations to Trans U nion,E q uifax,and E xperian

       repeatedly. Trans U nion, E q uifax, and E xperian then parroted the

       inform ation back to third parties through her credit reporting databas e.

 72. B A NA violated s ection 16
                               81s - 2 (b) of the F C R A by continuing to report

                               foreclos ure initiated to Trans U nion, E q uifax, and

       E xperian;

       regarding the reporting of this inform ation;by failing to review allrelevant

       inform ation regarding s am e;by failing to accurately res pond to Trans U nion;

       by failing to accurately res pond to E q uifax;by failing to accurately res pond

       to E xperian;by failing to correctly report res ults ofan accurate inves tigation

       to every other credit reporting agency;and by failing to perm anently and

       law fully correct its ow n internal records to prevent the re- reporting of this

       inform ation to the C R A s .

 73. A s a res ult of this conduct,action and inaction of B A NA ,Plaintiff s uffered

       dam age by los s of credit;los s of the ability to purchas e and benefit from


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       credit;the expens e ofdis puting;the tim e spent dis puting;and the m entaland

       em otional pain, anguis h, hum iliation, and em barras s m ent res ulting

       therefrom .

 74.                                 and inaction w as w illful, rendering it liable for

       actual,s tatutory,and punitive dam ages in an am ount to be determ ined by the

       C ourt purs uant to 15 U .S.C .§ 16
                                         81n.In the alternative, it w as negligent

       entitling Plaintiffto recover actualdam ages under 15 U .S.C .§ 1681o.

 75.

       am ount to be determ ined by the C ourt purs uant to 15 U .S.C .§ 16
                                                                          81n and §

       16
        81o.



       WHEREFORE, Mrs. Gardner prays for the following relief:

       (a)That this C ourt im m ediately enter a Tem porary R es training Order
          preventing D efendant from taking any action to s ellor take pos s es s ion of
                     property;
       (b)That this C ourt enter an interlocutory injunction preventing D efendant
          from taking any action to s ellor take pos s es s ion of          property;
       (c)That this C ourt enter judgm ent in favor of M rs .G ardner;
       (d) That M rs .G ardner be aw arded s tatutory dam ages ;
       (e)That M rs .G ardner be aw arded her actualdam ages ;
       (f)That M rs .G ardner be aw arded com pens atory dam ages in an am ount to
          be determ ined at trial;


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      (g)That M rs . G ardner be aw arded punitive dam ages in an am ount
          determ ined at trial;
      (h)That M rs .G ardner be aw arded allcos ts oflitigation,including reas onable
                         ;and
      (i) Such further reliefas this C ourt deem s appropriate.



TRIAL BY JURY IS HEREBY DEMANDED ON ALL NON-EQUITABLE

CLAIMS.

      This 2 0th day ofM ay,2 02 0.



                                        R es pectfully s ubm itted,

                                        SMITH, WELCH, WEBB & WHITE,
                                        LLC

                                        /s/ Orion G. Webb
                                        Orion G .W ebb,E s q .
                                        G eorgia B ar No.479611
                                        G rant E .M cB ride
                                        G eorgia B ar No.109812
                                        M iranda N.Hanley,E s q .
                                        G eorgia B ar No.4512 74
                                        Attorneys for Mrs. Gardner

2 80 C ountry C lub D rive,Suite 3 00
Stockbridge,G eorgia 3 02 81
(770)3 89-486  4 (phone)
(770)3 89-5193 (fax)
ow ebb@ s m ithw elchlaw .com
gm cbride@ s m ithw elchlaw .com
m hanley@ s m ithw elchlaw .com


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                          CERTIFICATE OF SERVICE

      This is to certify that on M ay 2 0,2 02 0,Ielectronically filed PLAINTIFF

FIRST AMENDED COMPLAINT w ith the C lerk of C ourt us ing the C M /E C F

s ys tem w hich w illautom atically s end em ailnotification of s uch filing to attorneys

ofrecord.

                                          /s/ Orion G. Webb
                                         Orion G .W ebb
                                         G eorgia B ar No.479611
                                         Sm ith W elch W ebb & W hite,L L C
                                         2 80 C ountry C lub D rive #
                                                                    3 00
                                         Stockbridge,G eorgia 3 02 81
                                         (770)3 89-486  4 (telephone)
                                         (770)3 89-5193 (facs im ile)
                                         ow ebb@ s m ithw elchlaw .com
                                         Attorney for Plaintiffs


      CERTIFICATION OF COMPLIANCE WITH LOCAL RULE 5.1
      Plaintiff couns elhereby certifies that this pleading has been prepared w ith

one ofthe font and point s elections approved by the C ourt in L .R .5.1.

                                  SMITH, WELCH, WEBB & WHITE, LLC
                                  /s/ Orion G. Webb
                                  OR ION G .W E B B
                                  G eorgia State B ar No.4796
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                  Exhibit First Amended Complaint Page 25 of 76C3 5594 BREACHGA 20622 06/05/2017
Bankof America



                                                                                          Notice Date: December 17, 2018




                                                                                          Account No.:       2763
LISA C GARDNER & DAVID A GARDNER
    BUTLER BRIDGE DR                                                                     Property Address:
MCDONOUGH, GA 30252-4909
                                                                                         275 BUTLER BRIDGE DR
                                                                                          MCDONOUGH, GA 30252




Notice of the right to cure the default and intent to accelerate

Este es un aviso importante respecto a su derecho a vivir en su casa. Favor
de traducirlo de inmediato.

(This is an important notice concerning your right to live in your home. Have
it translated at once.)


Dear LISA C GARDNER & DAVID A GARDNER:


Bank of America, N.A. services the home equity loan described above on behalf of the holder of the
promissory note (the "Noteholder"). The home equity loan is in serious default because the required
payments have not been made. The total amount now required to reinstate the home equity loan as of the
date of this notice is as follows;




Bank of America, N.A. is required by law to inform you that this communication is from a debt collector. If you
are currently in a bankruptcy proceeding or have previously obtained a discharge of this debt under
bankruptcy law, this notice is for informational purposes only and is not an attempt to collect a debt, a
demand for payment or an attempt to impose personal liability for a discharged debt.

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          Bank of America
          PO Box 37690
            Tompo. FL 33637-3690




                                                                                                         Account No.:      2763
      nun      Mil l
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                                                           ri'
                                                                                                         Date
     AB 0124           501 000 3       03470 #a02 SP 0.408                                              January 18, 2019
            LISA C GARDNER & DAVID A GARDNER
               BUTLER BRIDGE DR                                                                          Property Address:
            MCDONOUGH              GA 30252
                                                                                                         275 BUTLER BRIDGE DR
                                                                                                         MCDONOUGH. GA 30252




Dear LISA C GARDNER & DAVID A GARDNER:

My name is Gabrielle Adams, and I'l! be your dedicated customer
relationship manager. Bank of America, N.A. has several
programs designed to help homeowners who are having trouble
making their monthly mortgage payment, and it's possible that
one could help you.

What I will provide
I will work with you to review your individual situation and help determine which of our programs
may be available to you. Please review the enclosed brochure for more information.

I will guide you through the document collection process, communicate where you are in the loan
assistance process, and advise you of next steps. I will work with you closely throughout this
process, and provide you with frequent updates.

What I need from you

The most important thing you can do to successfully complete the loan assistance process is to
provide us with all of the documents required as soon as possible. Bank of America's Home Loan
Modification Status website is the fastest and most efficient way to submit documents to us.
The sooner we receive your documents, the sooner we can evaluate your loan for loan
assistance options.




Bank of America, N.A. is required by law to inform you that this communication is from a debt
collector. If you are currently in a bankruptcy proceeding or have previously obtained a discharge
of this debt under bankruptcy law, this notice is for informational purposes only and is not an
attempt to collect a debt, a demand for payment or an attempt to impose personal liability for a
discharged debt.
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To improve the overall processing time of your application for loan assistance, we encourage
you to access our Home Loan Modification Status website at
bankofamerica.com/loanhelpstatus. This tool will allow you to:

   •    Communicate with me via secure email when it is convenient for you
   •    View the status of your home loan assistance request
   •    Upload required documents to speed up the process of receiving your documents
   •    View and verify a list of documents we have received for your home loan assistance
        request


You must complete a registration process before you will be able to access the Home Loan
Modification Status Website. Please have your loan and property information available when
you register. Instructions can be found in the enclosed Home Loan Modification Status
Website Guide.

You may also fax your documents to 855.580.9307 or use the pre-paid return envelope included
in the initial package we sent you to submit documents to us. Please be sure to add your loan
number at the top of each page.


Next steps
I will be calling you soon. However, if you need assistance in registering and logging on to the
Home Loan Modification Status website, or if you have other questions call me at
800.559.5550 or 877.447.4002, Monday through Friday,8 a.m. to 5 p.m. local time. Please have
your loan number available when you call. Additionally, you can visit
bankofamerica.com/homeloanhelp to learn about home loan assistance.

Enclosure Borrower Portal User Guide, C3 12795


We know this is a difficult time, and we're here to help.



Gabrielle Adams
Customer Relationship Manager
Bank of America, N.A.
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Upload required documents to our Home Loan Modification
Status website to improve the timeliness of your loan
modification application and assist us in reaching a resolution
for your loan sooner.
 The most important thing you can do to have your request for loan assistance reviewed in a
 timely manner is provide all of the documents required within the timeline requested.

 The sooner we receive your documents, the quicker we can evaluate your loanfor a
 modification or other relief options.
This guide will assist you in creating an online account and uploading documents directly to our
 Home Loan Modification Status website.

 Create an online account
• Go to bankofamerica.com/loanhelpstatus.
• Under "Do you currently have an Online ID for the Home Loan Modification Status Site?",
  select "No. but I would like to create an online ID and passcode" to create an account.
• Enter the Loan Number. Last Four Digits of the primary borrower's Social Security Number or
  Taxpayer Identification Number. Property Zip Code. First Name and Last Name of the primary
    borrower.
• Follow the specific instructions to create a unique Online ID and Passcode.
• Select "Secret Questions" and answer them.
• Select your preference in the "Remember This Computer" field.
• Read and accept the "Electronic Communications Disclosures and Home Loan Modification
  Status Website Agreement."
• Click "Log in."

 Upload documents
Once you have logged into the Home Loan Modification Status site, select the "My Documents"
tab and access the "Locate Documents Required" section to create a customized document
checklist required to complete your loan modification application. Every loan modification is
different and the documents required will vary. Be sure to work closely with your assigned
customer relationship manager to discuss the complete list of documents required for your loan
modification. After you have gathered your required documents, you can upload them directly to
the website.

To upload documents;
•   Files must be saved as a PDF and should be 3.5MB (megabytes) or less.
•   Select the "My Documents" tab at the top of the screen.
•   Choose the appropriate document name from the dropdown in Step 1.
•   In Step 2, click "Browse" to locate the PDF document on your computer. Select the document
    you want to upload and click "Upload Document."

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America Corporation. This is not a commitment to lend. Credit and collateral are subject to
approval. Terms and conditions apply. Programs, rates, terms and conditions are subject to
change without notice.
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• You will then receive a pop up confirmation that includes the date and time of upload.
• Once the document is received in our system, it will display under "Documents Received" and
  will be viewable to you and to us. You will also be able to view other documents that you have
  sent to us and documents we have sent to you, regardless of the method in which it was
   sent.



 We're here to help

 If you would like assistance in registering and logging on to the Home Loan Modification Status
website, or if you have questions, please call your customer relationship manager at
800.669.6650, Monday through Friday, 8 a.m. to 5 p.m. local time. Please have your loan number
available when you call. You can also use this website to get status updates regarding your loan
modification request and email your customer relationship manager.




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America Corporation This is not a commitment to lend. Credit and collateral are subject to
approval. Terms and conditions apply. Programs, rates, terms and conditions are subject to
change without notice.
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                                  IMPORTANT DISCLOSURES



MILITARY PERSONNEL/SERVICEMEMBERS: If you or your spouse is a member of the military,
please contact us immediately. The federal Servicemembers Civil Relief Act(SCRA) and similar
state laws provide significant protections and benefits to eligible military service personnel.
However, military service and/or SCRA qualification may not necessarily prevent foreclosure. If
your loan is in default, a court may authorize foreclosure. If you are having difficulty making your
payments, please call us as soon as you can so we can discuss various home retention options.
You can reach our Enterprise Military Benefits Unit at 877.345.0693. From outside the U.S..
please call us at 817.245.4094. Homeowner counseling is also available at agencies such as
Military OneSource at militaryonesource.mil or 800.342.9647 and Armed Forces Legal Assistance
at legalassistance.law.af.mil. and through HUD-approved housing counseling agencies, which you
can find at hud.gov/offices/hsg/sfh/hcc/hcs.cfm.
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Bankof America
                                                                                                       Loan number:        2763
                                                                                                       Date: January 1 8, 2019




          Lisa C- Gardner
          David A. Gardner
               BUTLER BRIDGE DR
          MCDONOUGH. GA 30252-4909




Send us the requested information by February 21, 2019 to find out if you
may qualify for a home loan modification.

Thank you for contacting us about a modification or other home equity program. We want to work with you and
we're committed to helping you understand your home equity options. Take the next step and send us your
information. As discussed, we'll need to review your current financial situation to determine if your home
equity account is eligible for an offer.

Please fax the documents outlined in the enclosed checklist by February 21, 2019 to 866.580.9307.
Be sure to include your loan number on all documentation. Sending us your information is necessary for us to
determine your eligibility but in no way obligates you to participate in the program.

What you need to know
Once we receive alt required documents from you and verify that they are complete, we'll review your financial
information. If we determine your home equity account is eligible for a modification or other home equity
program, we'll send you an approval letter summarizing the program and outlining the steps you need to
complete to accept the offer. The program may require a Trial Period Plan which will be explained in more
detail in your approval letter. If you successfully make all of the Trial Period Plan payments, you may qualify for
a home equity modification. If you don't qualify for an offer, we'll provide you with information on other options
that may be available.

If you've filed for bankruptcy, please consult with your attorney before responding to this offer. If you're
represented by an attorney, we must speak with your attorney or have your attorney's permission to speak with
you about this program. Before we can discuss any details directly with you, he or she must fax a letter on the
firm's letterhead to us at 866.580.9307 granting us permission to speak with you. If you aren't represented by
an attorney and you would like more information, please call us at 800.669.6650 Monday through Friday, 8 a.m.
to 5 p.m. local time.




Bank of America, N.A. is required by law to inform you that this communication is from a debt collector. If you are currently in
a bankruptcy proceeding or have previously obtained a discharge of this debt under bankruptcy law, this notice is for
informational purposes only and is not an attempt to collect a debt, a demand for payment or an attempt to impose personal
liability for a discharged debt.
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Subject to applicable law and investor requirements, until we've received all required documents, we may
continue to collect missing payments and may even proceed to a foreclosure sale. Therefore, you shouldn't
Ignore any foreclosure notices, you should contact us Immediately, and be prepared to take steps to
respond to any such notices and protect your interests.
If you submit all required documents 37 days or less before your foreclosure sale date, we'll use our best
efforts to complete our evaluation of your eligibility for all applicable loan assistance programs before the sale
date. However, unless we approve you for assistance, the foreclosure sale date will continue as scheduled. Even
if we're able to approve your loan for a foreclosure alternative prior to a sale, a court with jurisdiction over the
foreclosure proceeding (if any) or public official charged with carrying out the sale may not stop the scheduled
sale.


What you need to do
We urge you to take advantage of this opportunity that may help you obtain an affordable home equity
payment. To complete the verification process, send In the documents requested on the enclosed
checklist by February 21, 2019. If we don't receive all documents from you, we won't be able to consider
your home equity account for an offer.
Please note that while we're evaluating your loan, we may use a property valuation report prepared by third
parties to estimate the market value of your property. You're entitled to a copy of each valuation report we
obtain in connection with our evaluation of your request, and we'll provide you with a copy at no additional cost.
If you have another mortgage loan secured by this same property that isn't with Bank of America, N.A., we
encourage you to consider contacting your loan servicer(s) to discuss any other loan assistance programs that
may be available to you.

We're here to help
If you have questions about this notification, please call us at 800.669.6650 Monday through Friday,8 a.m. to 5
p.m. local time.


Home Loan Team
Bank of America, N.A.


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FDiC. Equal Housing Lender til. C 2018 Bank of America Corporation

Protect your personal information before recycling this document.



Enclosures:

  . Frequently Asked Questions                                         4. IRS Form 4506-T
   Checklist                                                            5. Verification of Occupancy
     ax Cover Sheet




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                      Home Loans     Amended Complaint  Page  33 of 76




Lisa C. Gardner
David A. Gardner
    BUTLER BRIDGE DR
MCDONOUGH. GA 30252-4909



                                               VERIFICATION OF OCCUPANCY

By signing this letter, you confirm one of the following occupancy choices below. Please check the box below for your
situation.

                   residing in the property as your primary residence
             □     a tenant is residing in the property as tenant's primary residence
             □     not occupied as primary residence

Plea^ sign and return this letter by February 21, 2019. A return fax cover sheet is provided for your convenience.




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            Bankof America

            PO Box 31690
            Tampa FL 33631-3690




                                                                                                        Account No.:        2763
                     ilnli
                                                                                                        Date
        AB 0226      670 478         00881 #@01 Afi 0.412                                               February 22. 2019
            LISA C GARDNER & DAVID A GARDNER
                  BUTLER BRIDGE DR                                                                      Property Address:
            MCDONOUGH           GA 30252
                                                                                                        275 BUTLER BRIDGE DR
                                                                                                        MCDONOUGH, GA 30252




Dear USA C GARDNER & DAVID A GARDNER:


My name is Richard Pawson, and 1 will be your dedicated
customer relationship manager (CRM).

What you need to know
i will continue the work you started with your previous CRM with the same goal of pursuing every
available option to assist you with your home loan. The change in CRM does not indicate a
change in status to your loan assistance request.

I will be calling you soon. In the meantime, if you have questions, please contact me at
800.659.6550 or 877,447.4002, Monday through Friday, 8 a.m. to 5 p.m. local time. Please have
your loan number available when you call. Additionally, you can visit
bankofamerica.com/homeloanhelp to learn about the home loan assistance process.

What you need to do
If you receive a prepaid envelope, please use it as the preferred method of submitting documents
to us. If you do not receive a prepaid envelope, you may fax your documents to 866.580.9307.
Please include your loan number at the top of each page.
I look forward to working with you.

Richard Pawson
Customer Relationship Manager
Bank of America. N.A.

Bank of America. N.A. Member FDIC. Equal Housing Lender        <0 2018 Bank of America Corporation

Bank of America, N.A is required by law to inform you that this communication is from a debt
collector. If you are currently in a bankruptcy proceeding or have previously obtained a discharge of
this debt under bankruptcy law, this notice is for informational purposes only and is not an attempt
to collect a debt, a demand for payment or an attempt to impose personal liability for a discharged
debt.



Protect your personal information before recycling this document.
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  Case
     17-54050-wlh
       1:20-cv-01843-WMR-RGV
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                                                                 Page 2 ofDesc
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                Exhibit First Amended Complaint Page 35 of 76




                                 IMPORTANT DISCLOSURES



MILITARY PERSONNEL/SERVICEMEMBERS: If you are a member of the military, or if you are the
spouse, domestic partner or dependent of a military member, please contact us immediately. The
federal Servicemembers Civil Relief Act (SCRA) and/or similar state laws provide significant
protections and benefits to eligible military service personnel. However, military service and/or
eligibility under SCRA or similar state laws may not necessarily prevent actions such as foreclosure
or repossession If you have a loan that is in default, a court may authorize foreclosure or
repossession If you are having difficulty making your payments, please contact us as soon as
possible so we can discuss any available options. You can apply for benefits and find additional
resources, including financial education and information about how we support those who serve our
country, at bankofamerica com/military. You can reach our Enterprise Military Benefits Unit at
877.345.0693 From outside the U.S., please call us at 817 245 4094. Counseling is also available at
agencies such as Military OneSource at militaryonesource.mil or 800.342.9647 and Armed Forces
Legal Assistance at legalassistance.law.af.mil, and through HUD-approved housing counseling
agencies, which you can find at hud.gov/offices/hsg/sfh/hcc/hcs.cfm.
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                             Exhibit First Amended Complaint Page 36 of 76         C3 91 21972 06/28/2018

            Bankof America
            PO 80X31690
            TAMPA FL 33637-3690


m.
                                                                                                        LISA C. GARDNER
                                                                                                        DAVID A. GARDNER

        AB 0225      665 000         01194 #@01 SP 0.412

             LISA C GARDNER
                                                                                                        Loan Number:        2763
             DAVID A. GARDNER
                  BUTLER BRIDGE DR                                                                      Date February 22. 2019
             MCDONOUGH GA 30252-4909




We received your financial documentation. Here's what to expect
next.

What you need to know
Thank you for beginning the home loan assistance process with us and for providing your financial
information. We'll send you a letter in the next few days that either confirms we have all the
documents we need from you or identifies the documents you still need to provide, along with the
timeframe in which you must provide them.


What you need to do

Please respond promptly to all requests you receive from us. Our ability to evaluate you for
home loan assistance as well as postpone collection and foreclosure efforts, depends on our receipt
of all necessary documents. It's important that you provide all requested information as soon as
possible. Please be aware that your financial documents must not be more than 90 days old at the
time we receive them and they only remain valid for a period of time (financial documents are valid
for up to seven months from the date of the document depending on the type of document and
investors' program requirements.) If a document expires before we complete our evaluation, we'll
notify you and request updated information. As soon os we receive your documents, we can
quickly evaluate your loan for a modification.
If you have another mortgage loan secured by this same property that isn't with Bank of America,
we encourage you to consider contacting your loan servicer(s) to discuss any other loan assistance
options that may be available to you.




Bank of America, N.A. is required by law to inform you that this communication is from a debt
collector. If you are currently in a bankruptcy proceeding or have previously obtained a discharge of
this debt under bankruptcy law, this notice is for informational purposes only and is not an attempt
to collect a debt, a demand for payment or an attempt to impose personal liability for a discharged
debt.




RQ-2054339-l-l                                                                                                         C3_91_597675
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                            Exhibit First Amended Complaint Page 37 of 76



            What to expect next
            Once we've received all required documents, the loan evaluation process shouldn't take more than 30
            days. When we've completed our review, we'll notify you whether or not you qualify for a loan
            assistance option, and provide instructions on what to do next. You'll have at least 14 days to accept
            the offer. The actual number of days will be in the offer letter. If we're unable to offer you a loan
            assistance option, we'll consider you for other foreclosure prevention programs such as a short sale
            or deed in lieu of foreclosure.

            Please note that while we're evaluating your loan, we may use a property valuation report prepared
            by third parties to estimate the market value of your property. You're entitled to a copy of each
            valuation report we obtain in connection with our evaluation of your request, and we'll provide you
            with a copy at no additional cost.

            Attention borrowers in California and Arizona: Please note that in order to be reviewed for the
            Hardest Hit Funds (HHP) program for your state, you'll need to complete and return the Third Party
            Authorization Form included in your solicitation package. If you're unable to locate this form and
            wish to apply, you can contact your customer relationship manager for additional assistance. If you
            don't return this form, you won't be eligible for the HHP program. You'll still be reviewed for all other
            loan assistance options, per investor guidelines.

            We're here to help

            If you have questions about the process, please call me at 800.669.6650 Monday through Friday. 8
            a.m. to 5 p.m. local time.

            You can also seek assistance at no charge from U.S. Department of Housing and Urban Development
            {HUD)-approved housing counselors by calling 800.569.4287 or accessing the search tool at
            http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm to find a counselor near you The
            HUD-approved counselors can work with you to create a household budget and develop an action
            plan to help reduce your household debt. Additional assistance in understanding this notice is
            available at the HOPE Hotline number 888.995.HOPE

            Richard Pawson
            Home Loan Team
            Bank of America. N.A.


            Bank of America. N.A. Member FDIC. Equal Housing Lender 4?. © 2018 Bank of America Corporation

            Written Notices of Error, Requests for Information, and Qualified Written Requests (as defined in
            RESPA) must be sent to:
            Bank of America. N.A.
            PC Box 942019
            Simi Valley. CA 93094-2019


            Protect your personal information before recycling this document.




RQ-2054339-1-1                                                                                                     C331 ^597675
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                          Exhibit First Amended Complaint Page 38 of 76
Bank of America



February 26, 2019                                                   We need more information to continue
                                                                    evaluating your home loan for
Lisa C. Gardner
David A. Gardner                                                    assistance.
   Butler Bridge Dr
Mcdonough, GA 30252-4909                                            Please provide the requested items as
                                                                    soon as possible, but no later than April
Loan Number:             2763
                                                                    1,2019.

Dear Lisa C. Gardner and David A. Gardner:

Thank you for beginning the home loan assistance evaluation process with us and for the financial and hardship
information you have provided so far.

As of the date of this letter, we can't complete our review of your loan because some financial information we need
from you Is missing or incomplete.

What you need to do

We've been unable to contact you. Please call as soon as possible at 800.669.6650, Monday through Friday, 8
a.m. to 6 p.m. local time to provide a phone number that we may call to discuss your options and the
documentation needed to continue evaluating your loan for assistance.

The most Important thing you can do to successfully complete the loan assistance process is to provide us with alt of
the documents required within the timeline requested. The sooner we receive your documents, the quicker we can
evaluate your loan for a modification.

To improve the overall process of your loan modification from document submission to resolution, we encourage you to
access our Home Loan Modification Status website at loanhelpstatus.bankofamerica.com. This essential tool will
provide the following:

•   Communication by email when it is convenient for you
•   The status of your home loan modification request
•   The option to upload required documents to speed up the process of receiving your documents
    The ability to view and verify a list of documents we have received for your home loan modification request

To register successfully, you'll need to have your loan and property information available. Please refer to the
enclosed Home Loan Modification Status Website Guide included in this letter.

Please also complete and fax the following required documentation for each borrower using the enclosed fax
cover sheet to 866.580.9307 or return using the enclosed FedEx envelope. Please provide this Information as
soon as possible, but no later than April 1, 2019,




Bank of America. N.A. Is required by law to inform you that this communication is from a debt collector. If you are
currently in a bankruptcy proceeding or have previously obtained a discharge of this debt under bankruptcy law, this
notice is for informational purposes only and is not an attempt to collect a debt, a demand for payment or an attempt to
impose personal liability for a discharged debt.
RQ-2057661-1                                                                                        PKG 109/C3 9560 599278
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Lisa C. Gardner           Exhibit First Amended Complaint Page 39 of 76

    •     Mortgage Documentation for your Primary Residence.

           •    Please provide a copy of the most recent hazard insurance declaration page for your primary residence
                that states the total annual premium amount for the current year.

           •    Please provide a letter or bill from your primary residence homeowners/condominium association
                reflecting the amount and payment frequency of association dues.

    •     Credit Authorization Form (enclosed)- This document is used to obtain permission to pull credit

           •    Please provide a Credit Authorization Form that is signed and completed.

    •    Tax Returns(IRS 4506T form enclosed) - Copies of reports filed with the Internal Revenue Service
         (IRS) containing information used to calculate income tax or other taxes are required.

           •    Please provide a completed copy of your most recently filed tax return which includes all applicable
                signatures. If you were not required to file a tax return, please send a letter of explanation detailing this
                information. If you filed an extension, please provide a copy of the extension and the most current year
                tax returns that were filed.

David A. Gardner


   ' Mortgage Documentation for your Primary Residence.

           •    Please provide a copy of the most recent hazard insurance declaration page for your primary residence
                that states the total annual premium amount for the current year.

           •    Please provide a letter or bill from your primary residence homeowners/condominium association
                reflecting the amount and payment frequency of association dues.

    •     Credit Authorization Form (enclosed)- This document is used to obtain permission to pull credit

           •    Please provide a Credit Authorization Form that is signed and completed.

    •    Tax Returns(IRS 4506T form enclosed) - Copies of reports filed with the Internal Revenue Service
         (IRS) containing information used to calculate income tax or other taxes are required.

           "    Please provide a completed copy of your most recently filed tax return which includes all applicable
                signatures. If you were not required to file a tax return, please send a letter of explanation detailing this
                information. If you filed an extension, please provide a copy of the extension and the most current year
                tax returns that were filed.

    •     Pay Stub(s) - Printed evidence of your earnings.

         ' Please provide your two (2) most recent pay stubs that reflect year to date earnings. If you are new to
           your job and only have one pay stub, provide a letter from your employer, on company letterhead,
           verifying start date, along with frequency and rate of pay (including the potential for tips, commission
                and/or bonus).

Important information about foreclosure

Subject to applicable law and investor requirements, until we have received a completed Borrower Response Package,
we may continue to collect missing payments and may even proceed to a foreclosure sale. Therefore, you shouldn't
ignore any foreclosure notices, you should contact us immediately, and be prepared to take steps to respond
to any such notices and protect your interests.




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                                 Exhibit
If you submit all required documents    37First
                                           days Amended      Complaint
                                                 or less before             Page
                                                                your foreclosure    40date,
                                                                                 sale   of 76we'll use our best efforts to
complete our evaluation of your eligibility for all applicable loan assistance programs before the sale date. However,
unless we approve you for assistance, the foreclosure sale date will continue as scheduled. Even if we're able to
approve your loan for a foreclosure alternative prior to a sale, a court with jurisdiction over the foreclosure proceeding
(if any)or public official charged with carrying out the sale may not stop the scheduled sale.

Helpful tips for successfully completing this request

You may find the list above contains one or more documents you've already submitted to us as part of a request to be
considered for a loan modification or other loan assistance option. If so, they're listed because we need more
information about them or because they were submitted with missing or incomplete information. Bank of America's
Home Loan Modification Status website is the fastest and most efficient method of document submission. We can't
stress enough the importance of receiving your documents in a timely manner. If you're registered on the Home Loan
Modification site, we can walkthrough step by step to discuss what information is missing, and what is needed.

When providing the additional documentation or clarifications, please double check the following;

»   Write your loan number at the bottom of all pages if it's not already listed. This will aid in identifying your
    documents should they be sent separately or get separated.

•   Include ALL PAGES of any document with multiple pages. For instance, if the last page of your bank statement
    indicates Page 6 of 6, ensure you provide the copy of all six pages(even if some pages are blank).

•   The signature of each borrower and the date the document was signed is required for many documents. Please
    make sure all the proper signatures and dates are provided for any documents listed above.

•   Some requested documents have columns of numbers that must be added or subtracted to determine a total value
    (for example. Request for Mortgage Assistance or Mortgage Assistance Application (Form 710), profit and loss
    statement). Please ensure that complete and accurate totals are provided for any and all columns.

•   Please resend us a copy of the most recent version(s) of the document(s) listed above. The documents you had
    previously submitted have expired.

If you require additional copies of any of the forms enclosed in this package, please contact 800.669.6650, Monday
through Friday. 8 a.m. to 5 p.m. local time.

Please note: Keep a copy of all documents for your records. Don't send original documentation unless otherwise
noted.

Important Information

Subject to program guidelines and applicable law, if you're delinquent on your loan we're permitted to initiate and
proceed with the foreclosure process until you've submitted all of this required information to complete your
application. Therefore, it's important that you complete your application as soon as possible. Delays in submitting a
complete package of information could result in you losing important protections available to you under these
guidelines and applicable law. As of the date of this letter, you should get us your complete information as soon as
possible, but no later than April 1, 2019 in order to maximize your available protections.

In certain circumstances, we may need additional information from you that wasn't initially requested. If that's the case,
we'll send you a letter similar to this one confirming what you'll need to provide and the date by which it is due.

Please note that while we're evaluating your loan, we may use a property valuation report prepared by third parties to
estimate the market value of your property. You're entitled to a copy of each valuation report we obtain in connection
with our evaluation of your request, and we'll provide you with a copy at no additional cost.

If you have another mortgage loan secured by this same property that isn't with Bank of America, we encourage you to
consider contacting your loan servicer(s) to discuss any other loan assistance options that may be available to you.




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We're here to help         Exhibit First Amended Complaint Page 41 of 76
If you have any questions about our request for documents, want to confirm that we've received your missing
information, or are interested in other options, please call 800.669.6650, Monday through Friday, 8 a.m. to 5 p.m. local
time.


You can also seek assistance at no charge from U.S. Department of Housing and Urban Development(HUD)approved
housing counselors by calling 800.569.4287 or accessing the search tool at
http://www.hud.gov/offices/hsg/sfh/hcc/hcs.cfm to find a counselor near you. The HUD-approved counselors can
work with you to create a household budget and develop an action plan to help reduce your household debt. Additional
assistance in understanding this notice is available at the HOPE Hotline number 888.995.HOPE.


Richard Pawson
Home Loan Team
Bank of America, N.A.


Enclosures;
1) Pre-paid envelope
2)    Customized Cover Sheet
3)    Information on Loan Assistance Programs
4)    IRS Form 4506-T
5)    Home Loan Modification Website User Guide
6)    Credit Authorization Form

MILITARY PERSONNEL/SERVICEMEMBERS; If you are a member of the military, or if you are the spouse, domestic
partner or dependent of a military member, please contact us immediately. The federal Servicemembers Civil Relief
Act(SCRA)and/or similar state laws provide significant protections and benefits to eligible military service personnel.
However, military service and/or eligibility under SCRA or similar state laws may not necessarily prevent actions such
as foreclosure or repossession. If you have a loan that is in default, a court may authorize foreclosure or repossession.
If you are having difficulty making your payments, please contact us as soon as possible so we can discuss any
available options. You can apply for benefits and find additional resources, including financial education and
information about how we support those who serve our country, at bankofamerica.com/military. You can reach our
Enterprise Military Benefits Unit at 877.345.0693. From outside the U.S., please call us at 817.245.4094. Counseling is
also available at agencies such as Military OneSource at militaryonesource.mil or 800.342.9647 and Armed Forces
Legal Assistance at legalassistance.law.af.mil, and through HUD-approved housing counseling agencies, which you
can find at hud.gov/offices/hsg/sfh/hcc/hcs.cfm.

Written Notices of Error, Requests for Information, and Qualified Written Requests (as defined in RESPA) must be sent
to:
Bank of America, N.A.
PC Box 942019
Simi Valley, CA 93094-2019
Bank of America, N.A. Member FDIC. Equal Housing Lender. © 2018 Bank of America Corporation 1=>
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2018 STATEMENT SUMMARY
Any amount which is displayed in brackets () in this section, is a negative amount.
Total Interest Paid in 2018                       S1,823.57      Ending Interest Bearing Principal Balance         SI 74.975.10
Real Estate Taxes Paid in 2018                        SO.OO      Ending Non-Interest Bearing Principal Balance           $0.00
Beginning Escrow Balance                              SO.OO      Ending Gross Unpaid Principal Balance             SI 74,975.10
Ending Escrow Balance                                 SO.OO      FHA/VA Case Number                              Not Applicable
                                                                 Loan Was a Refinance in 2018                               No




 IMPORTANT TAX NOTICE - ACTION IS REQUIRED


 YOU SHOULD CONSULT WITH THE IRS OR YOUR TAX ADVISOR IF YOU HAVE ANY QUESTIONS.
 BANK OF AMERICA, N A DOES NOT OFFER TAX ADVICE.

 Please verify that we have the correctTaxpayer Identification Number(TIN)for the primary borrower of this loan. If the TIN is
 not correct, please provide us with the correct number immediately by writing to us at the address below or calling us at
 800-669-6607. If you fail to provide us your correct TIN, you may be subject to a fifty dollar penalty imposed by the IRS and
 backup withholding of interest paid to you. Note; Please include your name and account number on all communications to us.

                                                    BANK OF AMERICA, NA
                                                      CUSTOMER SERVICE
                                                              PO BOX 31785
                                                     TAMPA,FL 33631-3785
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                   IMPORTANT NOTICE TO HELP YOU AVOID FORECLOSURE SCAMS


  Beware of foreclosure rescue scams. Help is free from your mortgage servicer, Bank of America. N.A.
  • This program is only available to you through Bank of America, N.A.
  • There is never a fee to get assistance or information about a home loan modification from your
    mortgage servicer. Beware of any person or organization that asks you to pay a fee in exchange for
     housing counseling services or modification of a delinquent loan.
  • Beware of anyone who says they can "save" your home if you sign or transfer over the deed to your
    house. Do not sign over the deed to your property to any organization or individual unless you're
     working directly with Bank of America, N.A. to forgive your debt.
  • Never make your mortgage payments to anyone other than Bank of America, N.A. without our approval.




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                          Exhibit First Amended Complaint Page 44 of 76
Frequently asked questions



Q. What Is a home equity modification?                           In order to help to avoid a foreclosure sale, you must
                                                                 comply with all deadlines associated with document
   A home equity modification is designed to help property
                                                                 requests, trial period plan payments and requests for
   owners who are having difficulty making their monthly
                                                                 you to contact us. While you're being considered for the
   home equity payments due to a financial hardship. The
                                                                 home equity modification program, we'll temporarily
   terms of the loan are temporarily or permanently
                                                                 suspend any pending foreclosure sales and proceedings.
   modified to help make payments affordable for
                                                                 Once you enter into the trial period of a modification,
   borrowers and sustainable over the long term.
                                                                 we'll request that any pending foreclosure sales and
Q. What happens to my abiiity to draw on a Home                  proceedings be halted as long as you make your trial
Equity Line of Credit?                                           payments on time. For specific information regarding
   Depending on the program you are offered, you may no          your property, please contact us at 800.669.6650
   longer be able to borrow additional funds from your line      Monday through Friday,8 a.m. to 5 p.m. local time.
   of credit when you agree to participate in the program.
                                                                 Important—Don't ignore anyforeclosure notices.
Q. If eligible, how will my home equity account be
modified?
                                                                 As stated, we'll temporarily suspend foreclosure
                                                                 proceedings while you're being considered for a home
   There are several different ways we may modify the            equity modification. If we don't receive all of your
   terms of your home equity account to reach an                 required financial documents by the date requested, we
                                                                 may begin or will resume foreclosure proceedings. You
   affordable payment. A modification may include one or         may receive foreclosure/eviction notices — delivered by
   more of the following:                                        mail or in person — or you may see steps being taken to
                                                                 proceed with a foreclosure sale of your home. To protect
• Your account may be brought up to date by adding               your rights under applicable foreclosure law, you may
  any past-due interest, property taxes, insurance, or
                                                                 need to respond to these foreclosure notices or take
  servicing expenses paid to third parties on your               other actions. If you have any questions about the
  behalf to the principal balance. Your account will no          foreclosure process, contact us at 800.669.6650 Monday
  longer be delinquent, but this could result in a larger        through Friday, 8 a.m. to 5 p.m. local time.
   monthly payment.
                                                                 If you don't understand the legal consequences of the
• Your payments may be recalculated over a longer
                                                                 foreclosure, we encourage you to contact a lawyer or
  period of time to help lower your monthly payments.
   In some cases we may not be able to extend the final          housing counselor for assistance.
   due date/maturity date, which may result in a larger
   final payment(known as a balloon payment).                 Q. Will my credit be affected by accepting a trial
                                                              period plan or loan modification?
o You may be offered a lower interest rate. If the new
  interest rate is below the current market rate, it may         Staying current on your payments is the best way to
   increase annually until it reaches the final fixed rate.      maintain your credit. If you enter into a trial plan or
• We may postpone a portion of your unpaid principal             modification, your credit may be negatively affected.
  balance. The postponed amount won't accrue                     Your loan will be reported as "paying" under a partial
  interest and you will not have to pay it back until the
   loan is due, refinanced, or if you sell the property.         payment plan during the trial plan, and as "modified"
                                                                 once the permanent modification is confirmed. In
   If your home equity account is eligible for a                 addition, your payments under a trial plan may be lower
   modification, we'll clearly define the new terms in           than your regular contractual payments, which could
   your Modification Agreement.
                                                                 cause your payments to fall further past due if you don't
   If your home equity account isn't eligible, we'll send        enter into a permanent modification. Credit scores are
   you a letter explaining the reason(s) your account            determined by the credit bureaus and are not controlled
   didn't qualify and how you may explore whether
   there are other options for which you may be                  directly by Bank of America, N.A. beyond our
   eligible. If you receive a decline letter and have any        commitment to accurately report the status of all our
   questions about it, please contact us right away.             customers. Visit

Q. Will a foreclosure occur If I participate in this             ftc.gov/bcp/edu/pubs/consumer/credit/cre24.shtm for
program?                                                         more information.

   Foreclosure proceedings will he put on hold during this
   review period.
          Case
           Case17-54050-wlh
                 1:20-cv-01843-WMR-RGV
                              Doc 64-2 FiledDocument
                                              06/18/2010-8
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                                                                            Page 8 of Desc
                                                                                      12
                          Exhibit First Amended Complaint Page 45 of 76
                                      Bankof America                  Home Loans




                                      Customized Cover Sheet for your
                                      Financial Documentation Package


it is important that you include this cover sheet with your FedEx or fax to help us track your document submission and
expedite the handling of your package.

Be sure to include your loan number on each page of each document, as well as the appropriate borrower's signature
when applicable,

FedEx:
If you would like to FedEx your documents back to us, please include this page in the FedEx envelope provided.

Fax:
If you would like to fax your documents back to us, please use this as your fax cover page. Fax to: 866.580.9307




Borrower:
Lisa C. Gardner

Co-borrower:
David A. Gardner


Loan #:         2763


iOrderlD: 3325312




                                                 376892763+USC+LRM+3325312
                                                                                                         C3 12868 474462
          Case
           Case17-54050-wlh
                 1:20-cv-01843-WMR-RGV
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                                                            Filed 06/18/20
                                                                  05/20/20 12:47:04
                                                                            Page 9 of Desc
                                                                                      12
                          Exhibit First Amended
                            Information  on LoanComplaint
                                                 AssistancePage   46 of 76
                                                             Programs

                                         Please keep this page for your records.

Bank of America offers different programs to help keep qualifying borrowers in their home. A refinance or modification
could provide more favorable loan terms and an affordable payment. If you have missed a few payments, a repayment
plan could help get your payments up to date. If you must leave your home, there are programs to help you avoid
foreclosure such as a short sale or deed in lieu of foreclosure. Please see the chart below for a brief description of loan
assistance options.

        OPTION                             OVERVIEW                                             BENEFIT

 Refinance               A refinance would allow you to pay off your         You could take advantage of lower interest
                         existing loan with the proceeds from a new          rates and other more favorable loan terms
                         loan.                                               that could make your payment more
                                                                             affordable.

Reinstatement            You can pay the total amount you owe in one         This would bring your home loan current if
                         payment and by a specific date. This could    you can show you will have the funds
                         follow a forbearance plan as described below. available by a specific date.
Repayment Plan           If you are behind on your payments, a          You would have some additional time to bring
                         repayment plan would allow you to make your your payments up to date without having to
                         regularly-scheduled home loan payments,        come up with all past due amounts at one
                         plus pay off a portion of the past due amounts time.
                         over time.

Forbearance Plan         With this program, you could receive lower          This solution gives you time to resolve your
                         payments or no payments for a limited               financial difficulties OR gives us time to work
                         number of months.                                   with you on a more permanent solution.
 Modification            A loan modification is a change to the current A modification could provide you with a more
                         terms of your loan. A loan modification could affordable payment.
                         include one or more of the following options:
                         lowering your interest rate, extending the term
                         or maturity date of the loan, moving from an
                         adjustable- to a fixed-rate loan, deferring
                         some portion of the unpaid principal balance
                         to the end of the loan, and/or forgiving part of
                         the unpaid principal balance.
Short Sale               With this option, the property is listed for sale   You can transition out of your home and avoid
                         at fair market value, even if that value is lower foreclosure. Relocation assistance may also
                         than what you owe on your mortgage. If a            be available in some cases.
                         buyer is identified and the property is sold, the
                         proceeds from the sale are applied toward the
                         mortgage debt, even if the proceeds are less
                         than the amount owed on the mortgage. You
                         may be responsible for any balance
                         remaining after the sale.
Deed in Lieu of          With this option, you agree to transfer the title If there are no other liens on your property,
Foreclosure              or ownership of your property to the owner or     you can transition out of your home and avoid
                         servicer of your loan in order to avoid           foreclosure. Relocation assistance may also
                         foreclosure sale and satisfy all or a portion of be available in some cases.
                         the mortgage debt. The amount of debt
                         satisfied by this transfer of ownership is
                         based on the approved value of your home. In
                         some cases, you may be responsible for a
                         remaining balance of the mortgage debt over
                         and above the approved value.




                                                                                                               C3 12872 473119
         Case
          Case17-54050-wlh
               1:20-cv-01843-WMR-RGV
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                                                          Filed 05/20/20
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                                                                                     12
                         Exhibit First Amended Complaint Page 47 of 76
We're here to help

Please complete and return the enclosed documents as soon as possible, in order to start the loan evaluation process.
If you have any questions, please call us at 800.669.6650 Monday through Friday, 8 a.m. to 5 p.m. local time.




                                                                                                       C3 12872 473119
Form 4506-T(Rev. 9-2018)                                                                                                                  Page 2
             Case
                Case17-54050-wlh
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                                             Exhibit First
Section references are to the Internal Revenue Code
unless otherwise noted.
                                                           Amended
                                                       Chart           Complaint
                                                             for all other           Page 48by:
                                                                           transcripts         of 76
                                                                                               Corporations.   Generally. Form 4506-T can be signed
                                                                                                (1) an officer having legal authority to bind the
                                                              If you lived in or your Mail or fax to:                    corporation.(2) any person designated by the board of
Future Developments                                           business was in:                                           directors or other governing body, or(3)any officer or
For the latest information about Form 4506-T and its                                                                     employee on written request by any principal officer and
                                                              Alabama. Alaska.
instructions, go to www.irs.gov/form4506t. Information                                                                   attested to by the secretary or other officer. A bona fide
                                                              Arizona. Arkansas.
about any recent developments affecting Form 4506-T                                                                      shareholder of record owning 1 percent or more of the
                                                              California, Colorado,
(such as legislation enacted after we released it) will be                                                               outstanding stock of the corporation may submit a Form
                                                              Florida, Hawaii, Idaho.         Internal Revenue Service
posted on that page                                                                                                      4506-T but must provide documentation to support the
                                                              Iowa. Kansas. Louisiana.        RAIVS Team
                                                                                                                         requester's right to receive the information.
What's New. The transcripts provided by the IRS have          Minnesota. Mississippi,         P.O. Box 9941
                                                              Missouri, Montana,              Mail Stop 6734               Partnerships. Generally. Form 4506-T can be signed
been modified to protect taxpayers' privacy. Transcripts
                                                              Nebraska, Nevada, New           Ogden. UT 84409            by any person who was a member of the partnership
only display partial personal information, such as the last
                                                              Mexico. North Dakota.                                      during any part of the tax period requested on line 9.
four digits of the taxpayer's Social Security Number. Full
financial and tax information, such as wages and taxable      Oklahoma. Oregon.                                            All others. See section 6103(e) if the taxpayer has
income, is shown on the transcript.                           South Dakota. Texas.                                       died, is insolvent is a dissolved corporation, or if a
                                                              Utah. Washington.                                          trustee, guardian, executor, receiver, or administrator is
A new optional Customer File Number field is available to     Wyoming, a foreign              855-298-1145               acting for the taxpayer.
use when requesting a transcript. You have the option of      country. American                                          Note: If you are Heir at law, Next of kin. or Beneficiary
inputting a number, such as a loan number, in this field.     Samoa. Puerto Rico.                                        you must be able to establish a material interest in the
You can input up to 10 numeric characters. The customer       Guam, the                                                  estate or trust.
file number should not contain an SSN. This number will       Commonwealth of the
print on the transcript. The customer file number is an                                                                  Documentation. For entities other than individuals, you
                                                              Northem Mariana Islands,
optional field and not required                                                                                          must attach the authorization document For example,
                                                              the U.S. Virgin Islands, or                                this could be the letter from the principal officer
                                                              A.P.O. or F.P.O. address
                                                                                                                         authorizing an employee of the corporation or the letters
General Instructions                                          Connecticut, Delaware.                                     testamentary authorizing an individual to act for an
Caution: Do not sign this form unless all applicable lines    District of Columbia.                                      estate.
have been completed.                                                                                                     Signature by a representative. A representative can
                                                              Georgia. Illinois. Indiana.
Purpose of form. Use Form 4506-T to request tax return                                                                   sign Form 4506-T for a taxpayer only if the taxpayer has
                                                              Kentucky, Maine.                Internal Revenue Service
information. You can also designate(on line 5)a third                                                                    specifically delegated this authority to the representative
                                                              Maryland.                       RAIVS Team
party to receive the information. Taxpayers using a tax                                                                  on Form 2848. line 5. The representative must attach
                                                              Massachusetts. Michigan.        P O. Box 145500
year beginning in one calendar year and ending in the         New Hampshire, New
                                                                                                                         Form 2848 showing the delegation to Form 4506-T.
                                                                                              Stop 2800 F Cincinnati,
following year (fiscal tax year) must file Form 4506-T to     Jersey. New York. North         OH 45250
request a return transcript.                                  Carolina. Ohio.                                            Privacy Act and Paperwork Reduction Act Notice. We
Note: If you are unsure of which type of transcript you       Pennsylvania. Rhode                                        ask for the information on this form to establish your
need, request the Record of Account, as it provides the       Island. South Carolina.                                    right to gain access to the requested tax information
                                                              Tennessee. Vermont,                                        under the Internal Revenue Code. We need this
most detailed information.
                                                              Virginia, West Virginia,        855-800-8015               information to properly identify the tax information and
Tip. Use Form 4506. Request for Copy of Tax Return, to                                                                   respond to your request. You are not required to request
                                                              Wisconsin
request copies of tax returns.                                                                                           any transcript; if you do request a transcript, sections
Automated transcript request You can quickly request          Line lb. Enter your employer identification number         6103 and 6109 and their regulations require you to
transcripts by using our automated self-help sen/ice          (EIN) if your request relates to a business return.        provide this information, including your SSN or EIN. If
tools. Please visit us at IRS.gov and dick on "Get a Tax      Otherwise, enter the first social security number          you do not provide this information, we may not be able
Transcript..." under "Tools'" or call 1-800-908-9946.         (SSN) or your individual taxpayer identification           to process your request. Providing false or fraudulent
                                                              number (ITIN)shown on the retum. For example, if           information may subject you to penalties.
Where to file. Mail or fax Form 4506-T to the address         you are requesting Form 1040 that includes Schedule          Routine uses of this information include giving it to the
below for the state you lived in. or the state your           C (Form 1040). enter your SSN.                             Department of Justice for civil and criminal litigation, and
business was in, when that return was filed. There are                                                                   cities, states, the District of Columbia, and U.S.
                                                              Line 3. Enter your current address. If you use a P. 0.
two address charts: one for individual transcripts (Form      box. include it on this line.                              commonwealths and possessions for use in
1040 series and Form W-2)and one for all other                                                                           administering their tax laws. We may also disclose this
transcripts                                                   Line 4. Enter the address shown on the last retum
                                                                                                                         information to other countries under a tax treaty, to
                                                              filed if different from the address entered on line 3.
  If you are requesting more than one transcript or other                                                                federal and state agencies to enforce federal nontax
product and the chart below shows two different               Note: If the addresses on lines 3 and 4 are different      criminal laws, or to federal law enforcement and
addresses, send your request to the address based on          and you have not changed your address with the IRS.        intelligence agencies to combat terrorism.
the address of your most recent retum.                        file Form 8822. Change of Address. For a business            You are not required to provide the information
                                                              address, file Form 8822-B, Change of Address or            requested on a form that is subject to the Paperwork
Chart for individual transcripts(Form                         Responsible Party - Business                               Reduction Act unless the form displays a valid 0MB
1040 series and Form W-2 and Form                             Line 5b. Enter up to 10 numeric characters to create       control number Books or records relating to a form or its
                                                              a unique customer fiie number that wili appear on the      instructions must be retained as long as their contents
1099)                                                         transcript The customer file number should not             may become material in the administration of any
If you filed an                   Mall or fax to:             contain an SSN. Completion of this line is not             Internal Revenue law. Generally, tax returns and retum
individual retum and                                          required.
                                                                                                                         information are confidential, as required by section 6103.
lived in:                                                                                                                  The time needed to complete and file Form 4506-T v/ill
                                                              Note. If you use an SSN. name or combination of            vary depending on individual circumstances. The
Alabama. Kentucky.                                            both, we will not input the information and the            estimated average time is: Learning about the law or
Louisiana. Mississippi.           Internal Revenue Service    customer file number will be blank on the transcript.      the form, lOmin.; Preparing the form, 12min.;and
Tennessee. Texas, a foreign       RAIVS Team                                                                             Copying, assembling, and sending the form to the
country. American Samoa.                                      Line 6. Enter only one tax form number per request         IRS, 20 min.
                                  Stop 6716AUSC
Puerto Rico. Guam, the            Austin. TX 73301            Signature and date. Form 4506-T must be signed               If you have comments concerning the accuracy of
Commonwealth of the                                           and dated by the taxpayer listed on line 1a or 2a. The     these time estimates or suggestions for making Form
Northem Mariana Islands, the                                  IRS must receive Form 4506-T within 120 days of the        4506-T simpler, we would be happy to hear from you.
U S. Virgin Islands, or A.P.O. 855-587-9604                   date signed by the taxpayer or it will be rejected.        You can write to:
or F.P.O. address                                             Ensure that all applicable lines are completed before        Internal Revenue Service
                                                              signing.                                                     Tax Forms and Publications Division
Alaska, Arizona, Arkansas,
California, Colorado. Hawaii.                                            You must check the box in the signature            1111 Constitution Ave. NW. IR-6526
                                  Internal Revenue Service               area to acknowledge you have the                   Washington. DC 20224
Idaho. Illinois. Indiana. Iowa.   RAIVS Team
Kansas. Michigan.
Minnesota. Montana.
                                  Stop 37106
                                  Fresno, CA 93888
                                                               A         authority to sign and request the
                                                                         information. The form will not be processed
                                                                         and returned to you if the
                                                                                                                            Do not send the form to this address. Instead, see
                                                                                                                         kVhero to file on this page.
Nebraska. Nevada. New
Mexico, North Dakota,                                                     box is unchecked.
Oklahoma, Oregon, South           855-800-8105                  Individuals. Transcripts of jointly filed tax returns
Dakota, Utah, Washington,                                     may be furnished to either spouse. Only one
Wisconsin, Vifyoming                                          signature is required. Sign Form 4506-T exactly as
Connecticut Delavrare.                                        your name appeared on the original return. If you
District of Columbia, Florida,    Internal Revenue Service    changed your name, also sign your current name.
Georgia, Maine, Maryland,         RAIVS Team
Massachusetts. Missouri.          Stop 6705 P-6
New Hampshire. New Jersey. Kansas City. MO 64999
New York. North Carolina.
Ohio, Pennsylvania, Rhode
Island, South Carolina,           855-821-0094
Vermont. Virginia. West
Virginia
Form 4506-T (Rev. 9-2018)                                                                                                Page 2
             Case
                Case17-54050-wlh
                        1:20-cv-01843-WMR-RGV
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unless otherwise noted.
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Section references are to the Internal Revenue Code
                                            Chart           Complaint
                                                  for all other           Page 49 of
                                                                transcripts           76
                                                                                   Corporations. Generally. Form 4506-T can be signed
                                                                                                                         by:(1)an officer having legal authority to bind the
                                                              If you lived in or your Mail or fax to:                    corporation.(2)any person designated by the board of
Future Developments                                           business was in:                                           directors or other governing body, or(3)any officer or
For the latest information about Form 4506-T and its
                                                              Alabama. Alaska.
                                                                                                                         employee on written request by any principal officer and
instructions, go to www.irs.govAorm4506t. Information                                                                    attested to by the secretary or other officer A bona fide
                                                              Arizona. Arkansas.
about any recent developments affecting Form 4506-T                                                                      shareholder of record owning 1 percent or more of the
                                                              California. Colorado.
(such as legislation enacted after we released it) will be                                                               outstanding stock of the corporation may submit a Form
                                                              Florida. Hawaii. Idaho.         Internal Revenue Service
posted on that page.                                                                                                     4506-T but must provide documentation to support the
                                                              Iowa. Kansas. Louisiana.        RAIVS Team
                                                                                                                         requester's right to receive the information.
What's New. The transcripts provided by the IRS have          Minnesota. Mississippi.         P.O Box 9941
been modified to protect taxpayers' privacy, Transcripts      Missouri. Montana.              Mail Stop 6734               Partnerships. Generally. Form 4506-T can be signed
only display partial personal information, such as the last   Nebraska. Nevada. New           Ogden. UT 84409            by any person who was a member of the partnership
four digits of the taxpayer's Social Security Number. Full    Mexico. North Dakota.                                      during any part of the tax period requested on line 9.
financial and tax information, such as wages and taxable      Oklahoma. Oregon.                                            All others. See section 6103(e) if the taxpayer has
income, is shown on the transcript.                           South Dakota. Texas.                                       died, is insolvent, is a dissolved corporation, or if a
                                                              Utah. Washington.                                          trustee, guardian, executor, receiver, or administrator is
A new optional Customer File Number field is available to     Wyoming, a foreign              855-298-1145               acting for the taxpayer.
use when requesting a transcript. You have the option of      country. American                                          Note: If you are Heir at law. Next of kin. or Beneficiary
inputting a number, such as a loan number, in this field.     Samoa. Puerto Rico.                                        you must be able to establish a material interest in the
You can input up to 10 numeric characters. The customer       Guam, the                                                  estate or trust.
file number should not contain an SSN. This number will       Commonwealth of the
print on the transcript. The customer file number is an                                                                  Documentation. For entities other than individuals, you
                                                              Northern Mariana Islands,
optional field and not required                                                                                          must attach the authorization document. For example,
                                                              the U.S. Virgin Islands, or
                                                                                                                         this could be the letter from the principal officer
                                                              A.P.O. or F.P O. address
                                                                                                                         authorizing an employee of the corporation or the letters
General Instructions                                          Connecticut Delaware.                                      testamentary authorizing an individual to act for an
Caution: Do not sign this form unless all applicable lines    District of Columbia.                                      estate.
have been completed.                                          Georgia. Illinois. Indiana.                                Signature by a representative. A representative can
Purpose of form. Use Form 4506-T to request tax return        Kentucky. Maine.                                           sign Form 4506-T for a taxpayer only if the taxpayer has
                                                                                              Internal Revenue Service
information. You can also designate (on line 5)a third        Maryland.                                                  specifically delegated this authority to the representative
                                                                                              RAIVS Team
party to receive the information. Taxpayers using a tax                                                                  on Form 2848. line 5. The representative must attach
                                                              Massachusetts. Michigan.        P.O. Box 145500
year beginning in one calendar year and ending in the         New Hampshire. New                                         Form 2848 showing the delegation to Form 4506-T.
following year (fiscal tax year) must file Form 4506-T to                              Stop 2800 F Cincinnati,
                                                              Jersey. New York. North         OH 45250
request a return transcript.                                  Carolina. Ohio.                                            Privacy Act and Paperwork Reduction Act Notice. We
Note: If you are unsure of which type of transcript you       Pennsylvania. Rhode                                        ask for the information on this form to establish your
need, request the Record of Account, as it provides the       Island. South Carolina.                                    right to gain access to the requested tax information
most detailed information                                     Tennessee. Vermont.                                        under the Internal Revenue Code. We need this
                                                              Virginia. West Virginia.        855-800-8015               information to properly identify the tax information and
Tip. Use Form 4506. Request for Copy of Tax Return, to                                                                   respond to your request. You are not required to request
                                                              Wisconsin
request copies of tax returns
                                                                                                                         any transcript; if you do request a transcript, sections
Automated transcript request You can quickiy request          Line 1b. Enter your employer identification number         6103 and 6109 and their regulations require you to
transcripts by using our automated self-help service          (EIN) if your request relates to a business return.        provide this information, including your SSN or EIN. If
tools. Please visit us at IRS.gov and click on "Get a Tax     Otherwise, enter the first social security number          you do not provide this information, we may not be able
Transcript..." under "Tools" or call 1 -800-908-9946.         (SSN)or your individual taxpayer identification            to process your request. Providing false or fraudulent
                                                              number (ITIN)shown on the return. For example, if          information may subject you to penalties.
Where to file. Mail or fax Form 4506-T to the address         you are requesting Form 1040 that includes Schedule          Routine uses of this information include giving it to the
below for the state you lived in. or the state your           C (Form 1040). enter your SSN                              Department of Justice for civil and criminal litigation, and
business was in, when that return was filed. There are
                                                              Line 3. Enter your current address. If you use a P. 0.     cities, states, the District of Columbia, and U.S.
two address charts: one for individual transcripts(Form       box. include it on this line.                              commonwealths and possessions for use in
1040 series and Form W-2)and one for all other                                                                           administering their tax laws. We may also disclose this
transcripts.                                                  Line 4. Enter the address shown on the last retum
                                                                                                                         information to other countries under a tax treaty, to
                                                              filed if different from the address entered on line 3.
  If you are requesting more than one transcript or other                                                                federal and state agencies to enforce federal nontax
product and the chart below shows two different               Note: If the addresses on lines 3 and 4 are different      criminal laws, or to federal law enforcement and
addresses, send your request to the address based on          and you have not changed your address with the IRS.        intelligence agencies to combat terrorism.
the address of your most recent retum.                        file Form 8822. Change of Address. For a business            You are not required to provide the information
                                                              address, file Form 8822-B. Change of Address or            requested on a form that is subject to the Paperwork
Chart for individual transcripts(Form                         Responsible Party - Business.                              Reduction Act unless the form displays a valid 0MB
1040 series and Form W-2 and Form                             Line 5b. Enter up to 10 numeric characters to create       control number. Books or records relating to a form or its
                                                              a unique customer file number that will appear on the      instructions must be retained as long as their contents
1099)                                                                                                                    may become material in the administration of any
                                                              transcript. The customer file number should not
If you filed an                   Mail or fax to:             contain an SSN. Completion of this line is not             Internal Revenue law. Generally, tax returns and return
individual return and                                         required                                                   information are confidential, as required by section 6103.
lived in:                                                                                                                  The time needed to complete and file Form 4506-T will
                                                              Note. If you use an SSN. name or combination of            vary depending on individual circumstances. The
Alabama. Kentucky.                                            both, we will not input the information and the            estimated average time is: Learning about the law or
Louisiana. Mississippi.           Internal Revenue Service    customer file number will be blank on the transcript.      the form, lOmin.; Preparing the form, 12min.. and
Tennessee. Texas, a foreign       RAIVS Team                                                                             Copying, assembling, and sending the form to the
country. American Samoa,                                      Line 6. Enter only one tax form number per request.        IRS,20 min.
                                  Stop 6716AUSC
Puerto Rico. Guam, the            Austin. TX 73301            Signature and date. Form 4506-T must be signed               If you have comments concerning the accuracy of
Commonwealth of the                                           and dated by the taxpayer listed on line la or 2a. The     these time estimates or suggestions for making Form
Northern Mariana Islands, the                                 IRS must receive Form 4506-T within 120 days of the        4506-T simpler, we would be happy to hear from you.
U.S. Virgin Islands, or A.P.O. 855-587-9604                   date signed by the taxpayer or it will be rejected.        You can write to:
or F.P.O. address                                             Ensure that all applicable lines are completed before        Intemal Revenue Service
                                                              signing.                                                     Tax Forms and Publications Division
Alaska. Arizona. Arkansas.
California. Colorado. Hawaii.                                             You must check the box in the signature          1111 Constitution Ave. NW. IR-6526
                                  Internal Revenue Service                area to acknowledge you have the                  VNfeshington. DC 20224
Idaho. Illinois. Indiana. Iowa,   RAIVS Team
Kansas. Michigan.
Minnesota. Montana.
                                  Stop 37106
                                  Fresno, CA 93888
                                                               A          authority to sign and request the
                                                                          information. The form will not be processed
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                                                                                                                            Do not send the form to this address. Instead, see
                                                                                                                         Where to file on this page.
Nebraska. Nevada. New
Mexico. North Dakota.                                                     box is unchecked.
Oklahoma. Oregon. South           855-800-8105                  Individuals. Transcripts of jointly filed tax returns
Dakota. Utah. Washington,                                     may be furnished to either spouse. Only one
Wisconsin. Wyoming                                            signature is required. Sign Form 4506-T exactly as
Connecticut. Delaware.                                        your name appeared on the original return. If you
District of Columbia. Florida.    Internal Revenue Service    changed your name, also sign your current name.
Georgia. Maine. Maryland.         RAIVS Team
Massachusetts. Missouri.          Stop 6705 P-6
New Hampshire. New Jersey. Kansas City. MO 64999
New York. North Carolina.
Ohio. Pennsylvania. Rhode
Island. South Carolina,           855-821-0094
Vermont. Virginia, West
Virginia
             Case
              Case17-54050-wlh
                    1:20-cv-01843-WMR-RGV
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                                                                                         22
                             Exhibit First Amended Complaint Page 50 of 76
Bankof America                    Home Loans
                                                                                                                                   Customer Name:
                                                                                                                                   Lisa C. Gardner
                                                                                                                                   David A. Gardner

                                                                                                                                   Loan number:         2763

                                                                                                                                   Date
                                                                                                                                   March 8, 2019

                                                                                                                                   Customer Service:
            Lisa C. Gardner                                                                                                        800.669.5650
            David A. Gardner
                                                                                                                                   Account information
                 BUTLER BRIDGE OR
                                                                                                                                   bankofamerica.com
            MCDONOUGH, GA 30252-4909




As part of our review of your request for loss mitigation assistance, the
estimated market value of your property was completed, and we're
providing the information to you as required by law.
Attached is a copy of the Information that we may use to evaluate your request. This information is designed
and intended to be used solely by Bank of America, N.A. in connection with the evaluation of your request.

Bank of America makes no representations or warranties, express or implied, regarding the condition of the
property, or the value of the property.
Bank of America conducted this review for our own use and we're required by law to provide you a copy. We
suggest you maintain a copy of this letter for your records.

We're here to help
If you have any questions, please call 800.669.6650 Monday through Friday, 8 a.m. to 5 p.m. local time.

MILITARY PER50NNEL/SERVICEMEMBERS: If you are a member of the military, or if you are the spouse, domestic partner or dependent of
a military member, please contact us immediately. The federal Servlcemembers Civil Relief Act(SCRA) and/or similar state laws provide
significant protections and benefits to eligible military service personnel. However, military service and/or eligibility under SCRA or similar
state laws may not necessarily prevent actions such as foreclosure or repossession. If you have a loan that is in default, a court may
authorize foreclosure or repossession. If you are having difficulty making your payments, please contact us as soon as possible so we can
discuss any available options. You can apply for benefits and find additional resources, including financial education and information about
how we support those who serve our country, at bankofamerica.com/military. You can reach our Enterprise Military Benefits Unit at
877.345,0693. From outside the U.S., please call us at 817.245.4094. Counseling Is also available at agencies such as Military OneSource at
mllitaryonesource.mil or 800.342.9647 and Armed Forces Legal Assistance at legalassistance.law.af.mil, and through HUD-approved housing
counseling agencies, which you can find at hud.gov/offices/hsg/sfh/hcc/hcs.cfm.
Bank of America, N.A. Member FDIC. Equal Housing Lender. © 2018 Bank of America Corporation tsf
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Bank of America, N.A. is required by law to inform you that this communication is from a debt collector. If you are currently In a bankruptcy
proceeding or have previously obtained a discharge of this debt under bankruptcy law, this notice is for Informational purposes only ana is not
an attempt to collect a debt, a demand for payment or an attempt to impose personal liability for a discharged debt.
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   Pmpeny .'>dilRrs> P75 Butler Bridge Dr Exhibit First Amended Complaint   Page 51 of 76
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    tylarket values are stable with supply shortage. Marketing time Is under three monttis                          Because of limited number of properties with subject's features, market condition were used
    by marxot cnnditicrs resuilta by subjncf.s high school Sno scanned document The subjoct'.s value is higher than predominant value hecaii.se it is larger in square fool basement
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   Aie thcie any iicKersc sSc condtftons oi cxtciiial Inctors (easements. citcionclinKiits, eiwircxufcncilconditions, bind uses, etc.)''                                              □ Yes »] No It Yes. (.k'scnbc
    At the time of inspection, there were no known environmental conditions which would adversely ctfoct marketability of the subject.



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    major component, may be updated or recently rehabilitated. The structure has been well maintained




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   (fVcs. dcscnlv
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    Ttie subject property conforms to llie neighborhood In design, utility, oondltlon and quality of construction.


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   prior transfer was not listed in MLS. was a purchase of a foreclosure and may have sold for less because of condition, and the subject's prior transfer was on 10/03/2017 for $375,
   000 ffuruclosurp),




   Sumnxiiy ofSates Coinpurison ^'yipttxich
   See attached addenda.




  Indkatcd Value hy.Sab.s CninftaristTn .xppfroch .$               538,000
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   ADDENDUM



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   The subjnct Is matketsble in its present cortdition eiid Is eppraisad "as-is." No warranty Is given or implied as to the structural soundness of Ihe improvements or the mechanical
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  ^ 538,000                           as of 02/27/2019                              . which is the date of inspection nnd tltc ctK'otive dato of tins appmisal.
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      A reattontibio exposure lime for the subject properly developed independently from ttie stated markolinfl time is 60 days.
                                                       Exhibit First Amended Complaint Page 53 of 76
      I have performed no services, as an appraiser or in any other capacity, regarding the property tliat Is the subject of this report within the three year period immediately preceding
      auueptenue of this asslunment.

      The approloor cortltioc end agrees that this appraisal was proparod In accordanco with the roqutromonts of Title XI of the f^lnanclai Instltubone. Reform. Recovery, and Enforcement
      Act (FIRREA) of 1989. as amended (12 U S C. 3331 et seq ). and any applicable implementing regulations in effect at the time the appraiser signs tfie appraisal certlOcatlon
, Mandatory Georgia Certification
      TVIy annlyslR, opininna. and cnncluRinns warn riovetopod. and this report has been prepared, in conformity with the Georgia Real F.state Apprai.sor Clnnniflr.ationfi nno Regulation Act
      and tho Rulor. and Regulations of the Georgia Real Estate Appraisers Board." (He.al Estate Appraiser Classification and Kcjgulation Act paragraph 539-3.02(1)(m)as amended
      Augimt 1. 20051.

 T    Sale Datoa
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O Comparable ff2 02/29/2019 vcrincd with listing agent
      Cumparitblu//3 10/30/2018
' Comparable fM 09/19/2010
^ Comparable//? 09/21/2018
 »-   Comparable ffO 04/12/2010

C The appialsai carllfias and agrees that this appraisal was pieparad In accordance with the requirements of Title XI of the Financial Institubons. Refoim. Recovery, and Enforcement
O Act (FIRREA) of 1909. as amended (12 U.S.C. 3331 et seq.). and any applicable irrrplemeiilirig regulations In effect at the lime tire appraiser siH"» tire apprairtal certificatiun.
 Vf
      AN EXTERIOR-ONLY INSPECTION WAS COMPLETED Tho appraiser has made an Extraordinary Assumption based on other credible and reliable resources to identify relevant
 g properly oliaracteriaiics. The client is aware of this method end assumption.
^ The CoroLooic Valuation Solutions, inc. registratfon.'Hcenso numbor for Georgia is 4
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                                      Exhibit First Amended Complaint Page 54 of 76
     This rsport form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit: including a unit
     in a planned unit development(PUD). This report form is not designed to report an appraisal of a manufactured home or a unit in a
     condominium or cooperative project.

     This appraisal report is subject to the following scope of work, intended use. intended user, definition of market value, statement of
     assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended use, intended user,
     definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may expand the scope of work to
     include any additional research or analysis necessary based on the complexity ef this appraisal assignment Modifications or deletions
     to the certifications are also not permitted. However, additional certifications that do not constitute material alterations to this appraisal
     report, such as those required by law or those related to the appraiser's continuing education or membership in an appraisal
     organization, are permitted.


     SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the reporting
     requirements of this appraisal report form, including the following definition of market value, statement of assumptions and limiting
     conditions, and certifications. The appraiser must, at a minimum; (1) perform a visual inspection of the exterior areas of the subject
     property from at least the street,(2)inspect the neighborhood,(3)inspect each of the comparable sales from at least the street,(4)
     research, verify, and analyze data from reliable public and/or private sources, and (5) report his or her analysis, opinions, and
     conclusions in this appraisal report.


     The appraiser must be able to obtain adequate information about the physical characteristics (including, but not limited to, condition,
     room count, gross living area, etc.) of the subject properly from the exterior-only inspection and reliable public and/or private sources to
     perform this appraisal. The appraiser should use the same type of data sources that he or she uses for comparable sales such as, but
     not limited to, multiple listing services, lax and assessment records, prior inspections, appraisal files, information provided by lfie
     property owner, etc.


     INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the subject of this
     appraisal for a mortgage finance transaction.


     INTENDED USER: The intended user of this appraisal report is the lender/client.


     DEFINITION MARKET VALUE: The most probable price which a property should bring in a competitive and open market under ail
     conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowiedgeably and assuming the price is not affected by
     undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the passing of title from seller to
     buyer urider conditions wfiereby:(1) buyer and seller are typically motivated;(2) botfi parties are well informed or well advised, and
     each acting in what he or she considers his or her own best interest; (3) a reasonable time is allowed for exposure in the open market;
     (4) payment is made in terms of cash in U. S. dollars or in terms of financial arrangements comparable thereto; and (5)the price
     represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions* granted by
     anyone associated with the sale.

     'Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are necessary
     for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are readily identifiable
     since the seller pays these costs in virtually ail sales transactions. Special or creative financing adjustments can be made to the
     comparable property by comparisons to financing terms offered by a third party institutional lender that is not already involved in the
     property or transaction. Any adjustment should not be calculated on a mechanical dollar for dollar cost of the financing or concession
     but the dollar amount of any adjustment should approximate the market's reaction to the financing or concessions based on the
     appraiser's judgment.


     STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS: The appraiser's certification in this report is subject to the following
     assumptions and limiting conditions;

     1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title to it,
     except for information that he or she became aware of during the research involved in performing this appraisal. The appraiser
     assumes that the title is good and marketable and will not render any opinions about the title.

     2. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency (or other
     data sources) and has noted in this appraisal report whether any portion of the subject site is located in an identified Special Flood
     Hazard Area. Because the appraiser is not a surveyor, ho or she makes no guarantees, express or implied, regarding this
     determination.


     3. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question, unless
     specific arrangements to do so have been made beforehand, or as otherwise required by law.

     4. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the presence of
     hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or she became aware of
     during the research involved In performing this appraisal Unless otherwise stated in this appraisal report, the appraiser has no
     knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the property (such as, but not limited to, needed
     repairs, deterioration, the presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) that would make
     the property less valuable, and has assumed that there are no such conditions and makes no guarantees or warranties, express or
     implied. The appraiser will not be responsible for any such conditions that do exist or for any engineering or testing that might be
     required to discover whether such conditions exist. Because the appraiser is not an expert in the field of environmental hazards, this
     appraisal report must not be considered as an environmental assessment of the property.

     5. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
     completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will be
     performed in a professional manner.




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                                      Exhibit First Amended Complaint Page 55 of 76
     APPRAISER'S CERTIFICATION: The Appraiser certifies and agrees that:

     1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in this
     appraisal report.

     2. I performed a visual inspection of the exterior areas of the subject property from at least the street. I reported the condition of the
     improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the livability, soundness, or
     structural Integrity of the property.

     3. I porformod this appraisal in accordanco with Iho roquiromonts of Itio Uniform Standards of Professional Appraisal Practice that
     were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this
     appraisal report was prepared.

    4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales comparison
    approach to value. I have adequate comparable market data to develop a reliable sales comparison approach for this appraisal
    assignment. I further certify that I considered the cost and income approaches to value but did not develop them, unless otherwise
     Indicated in this report.


     5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for sale of the
     subject property in the twelve months prior to the effective dale of this appraisal, and the prior sales of the subject property for a
     minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

     6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior to the date
     of sale of the comparable sale, unless otherwise indicated in this report.

     7. I selected and used comparable sales that are localionally. physically, and functionally the most similar to the subject property.

     6. I havo not used comparable sales that woro tho result of combinirig a land salo with tho contract purchase price of a homo that has
     been built or will be built on the land.


     9. I have reported adjustments to tho comparable sales that reflect tho market's reaction to tho differences between the subject
     property and the comparable sales.

     10. I verified, from a disinterested source, all information in this report that was provided by parties who have financial Interest in the
     sale or financing of the subject property.

     11. I have knowledge and experience in appraising this type of property in this market area.

     12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
     services, tax assessment records, public land records and other such data sources for the area in which the property is located.


     13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from reliable
     sources that I believe to be true and correct.


     14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject property,
     and the proximity of the subject property to adverse influences in the development of my opinion of market value. I have noted in this
     appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes,
     toxic substances, adverse environmental conditions, etc.) observed during the Inspection of the subject property or that I became aware
     Of during the research involved in performing this appraisal. I have considered these adverse conditions in my analysis of the property
     value, and havo reported on the effect of tho conditions on the value and markotability of the subject property.

     15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all statements
     and Information In this appraisal report are true and correct.

     16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which are subject
     only to tho assumptions and limiting conditions in this appraisal report.

     17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or prospective
     personal interest or bias with respect to the participants in the transaction. I did not base, either partially or completely, rtiy analysis and/or
     opinion of market value in this appraisal report on the race, color, religion, sex, age, marital status, handicap, familial status, or national
     origin of either the prospective owners or occupants of the subject property or of the present owners or occupants of the properties in the
     vicinity of Iho subject property or on any other taasis prohibited by law.

     18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not conditioned on any
     agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a predetermined specific value, a
     predetermined minimum value, a range or direction in value, a value that favors tho cause of any party, or the attainment of a specific
     re.sult or occurrence of a specific subsequent event(such as approval of a pending mortgage loan application).

     19 I personally prepared all conclusions and opinions about the real estate that were set forth In this appraisal report. If I relied on
     significant real property appraisal assistance from any individual or individuals in the performance of this appraisal or the preparation of this
     appraisal report, I have named such indivldual(s) and disclosed the specific tasks petiormed In this appraisal report. I certify that any
     Individual so named is qualified to perform the tasks. I have not authorized anyone to make a change to any item in this appraisal report:
     therefore, any change made to this appraisal is unauthorized and I will take no responsibility for it.


     20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that ordered and
     will receive this appraisal report.




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                                        Exhibit First Amended Complaint Page 56 of 76
     21. The lender/client may disclose or distribute this appraisal report to; the borrower; another lender at the request of the borrower; the
     mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other secondary market participants;
     data collection or reporting services; professional appraisal organizations; any department, agency, or instrumentality of the United
     Slates; and any slate, the District of Columbia, or other jurisdictions; without having to obtain the appraiser's or supervisory appraiser's
     (if applicable) consent. Such consent must be obtained before this appraisal report may be disclosed or distributed to any other party
     (including, but not limited to, the public through advertising, public relations, news, sales, or other media).

      22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may Ise subject to certain laws and
      regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice that pertain to
      disclosure or distribution by me.

      23. The borrower, another lender at the request of the borrower, the mortgagee or Its successors and assigns, mortgage insurers,
      government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part of any mortgage
      finance transaction that involves any one or more of those parties.

      24. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are defined in
      applicable federal and/or state laws (excluding audio and vidoo recordings), or a facsimile transmission of this appraisal report
      containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and valid as if a paper
      version of this appraisal report were delivered containing my original hand written signature.

      25. Any intentional or negligent misrepresentationfs) contained in this appraisal report may result in civil liability and/or criminal
      penalties including, but not limited to. fine or imprisonment or both under the provisions of Title 18. United States Code. Section 1001,
      et seq., or similar state laws.


      SUPERVISORY APPRAISER'S CERTIFICATION: The Supervisory Appraiser certifies and agrees that;

      1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
      analysis, opinions, statements, conclusions, and the appraiser's certification.

      2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser's analysis, opinions,
      statements, conclusions, and the appraiser's certification.


      3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
      appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

      4. This appraisal report compiles with the Uniform Standards of Professional Appraisal Practice that were adopted and promulgated by
      the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal report was prepared.

      5. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are defined in
      applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this appraisal report
      containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and valid as if a paper
      version of this appraisal report were delivered containing my original hand written signature.




          APPRAISER                                                                                     SUPERVISORY APPRAISER(ONLY IF REQUIRED)

          Signature                                                                                     Signature
          Name          t.aura N Usserv. Staff Appraiser                                                Name
          Company Name                    Corelogic Platinum valuation Solutions                        Company Name
          Company Address                   300i Hackberrv ru                                           Company Address
                                             IrvinQ                                75063-0156

          Telephone Number spo Mi 5898                                                                  Telephone Number
          Email Address              iusserv@corelonic com                                              Email Address
          Date of Signature and Report 03/05/2019                                                       Date of Signature      _
          Effective Date of Appraisal o?/27/20in                                                        State Certification #
          State Certification #               CR261426                                                  or Slate License #
          or State License #                                                                            State
          or Other (describe)                                  State #                                  Expiration Date of Certification or License
          State GA
          Expiration Dato of Certification or License                   12/31/2019                      SUBJECT PROPERTY

          ADDRESS OF PROPERTY APPFtAISED                                                               im Did not inspect exterior of subject property
            2/5 Butler Bridge Dr                                                                        I I Did inspect exterior of subject property from street
            McPonough                                                   GA    30252                            Date of Inspection
          APPRAISED VALUE OF SUBJECT PROPERTY S                              530,000
                                                                                                        COtV/IPARABLE SALES
          LENDER/CLIENT
                                                                                                      0 Did not inspect exterior of comparable sales from street
          Name          CoreLouic Valuatiofi Solutions. Inc.
          Company Name Bank of America - HFI 2nd I ien
                                                                                                      1 I Did inspect exterior of comparable sales from street
          Company Address 16001 D.TII.1S Pkwy
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                                              Addislon                             75001-3311

          Email Address



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    Lcx^iion By High School                    Ola                             Lueila                                     «73.000    Union Grove                                ■74.000        Locust Grove                                      ►131.000
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  Cily        MnDorKHjyh                                County Hnnry                  State   QA     Zip Code 30252

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Gonoryl Text Addendum
* Exterior-Only; Sales Comparison Analysis - Summary of Sales Comparison Approach
The appraiser's comparable search parameters began with an MLS search for single family homes sold within the prior year in the subject's
subdivision. Due to a lack of recent sale activity, the comparable search parameters were extended to sales outside the subject's subdivision and
extended to over 12 mile's distance to bracket features. The search included property built within ten years of the subject's age and containing similar
square foot of living area. The comparable sales used In the appraisal were tfie most recent and overall similar sales within the subject's area. The
most weight was given to Comparable #2 because of least amount of adjustment. Adjustment for lot size was based on MLS#8463209. 2450 Luella
Rd ($87,000/8.87 acres - $9,808 per acre). Adjustment for pool was based on paired sales between Comparable           and      Adjustment for
detached garage was based on paired sales between Comparable tl2 and ^3. Adjustment for location was based area market surveys by high school
Ola's Median Sales Price $237,500; Union Grove's Median Sales Price 5279,000 (-15%); Luella's Median Sales Price $197,500 (+20%); Locust
Grove's Median Sales Price $189,900 (•♦•25%); and Dutchtown's Median Sales Price 5218,000 (•♦■9%). Because of property differences, there are
higher than normal percent adjustments. Adjustment for time (sales contract date) was based on market conditions by high school for Luella. all other
areas are st-able and market condition reports are located in scanned documents. Based on paired sales between Comparable //4 and tt2, there is no
market sirpport (or ((uallty (superior siding). Adjustmeril for detached garage witfi quest house was tiased orr paired sales tjetween Comparable WB
and #1. While many comparables are different in size by over twenty-five percent, they were Included because they bracket subject's features.
                        Case
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L,    thio morkol area. Prior Months 7 12: 10 Sales; 8 with concessions; 80% of sales for this period. 4-6: 6 Solos; 2 with concessions; 40% of sales for this period. 0 3; 5 Salos; 3 with
      euocousluiiu. 60% uf salua for dim ptiiiud. Thu euncdsaiurm ranqod bolwoon $1,300 and S13.000. Ttia iimdian eorieasaion urnuurilm $5,400.

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      mandatory roporting field for agents and there may bo oorre distressed salos that wore not reported. It Is beyond the scope of this assignment to confirm each salo used in the
      Mnrknt Conililions Rnport




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                      UNIFORM APPRAISAL Exhibit  First DATASET
                                                       Amended       (UAD)DEFINITIONS
                                                                   Complaint          Page   61  of  76ADDENDUM
                             (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Condition Ratings and Definitions
 C1
 The improvements have been recently constructed and have not beer previously occupied. The entire structure and all components are ncrw and the dwelling features no physical
 deprnciNtiun.

 Note. Newly ootistmcled Uvpiovementa that feature recycled or previously used rriaterials and/or components can be co/ts'afered rtew dweHitt\js provided that the dwellitty ia placed
 Oh a 100 percent new foundation and the recycled materials and the recycled components have been tehalxlilaled/remanufaclured into like-new condition. Improvements that have
 not been previously occtipied are not considered "new"if they have any slynlflcant physical depreciation (that is. newly constructed dwellinas that have been vacant for an axtandad
 period ot time wilhniil adequate maintenance or upkeep}
 C2
 The improvements feature no deferred maintenance, little or no physical depreciation, and reouire no repairs. Virtually all building components are new or have been recently
 repaired, rennished, or rehaCillilated. All outdated components and finishes have been updated and.'or replaced with components that meet current standards. Dwellings in this
 uuleguiy ulUter are altnusl new ui have been tecenlly completely renuvuled and are similar In condition to new construction.
 Note. The improvements represent a relatively new property that is well maintained with no defeued maintenance and little or no physical depreciation, or an older pioperty that has
 bean roccntly cnmplotcly ronovntcd.
 C3
 The improvements ere well rnalntuined and feature lirnlled physical depreclallon due to ncniial wear and tear. Seme cornpunenls. but net every maicr building ccmponenl. may be
 updated or rac.«nlly rehabilttatrid The atnjcture has been wail maintainad

 Note: I ht> tmprovomcnt /.s in its ftrst-cycio of replacing .ihort-lrvod building components (appliances, floor covonngs, HVA C. ate.) and is trcing well maintained. Its estimated effective
 age is less than its actual age. It also may reflect a property in which the mojortly of short-lived budding components have been replaced t>ut not to the level of a complete
 renovation.

 C4
 The improvements feature seme minor deferred maintenance and physical deterioration due to normal wear and tear The dwelling has been adequately maintained and requires
 only minimal rapalrs to building r.omponentsfmachanical systams and r.osmofic repairs All major tMiildIng components have been adequately maintained and are hinctionnlly
 adequate.

 Notv. Tha uslitriutvd affactiva upa may ba dosa to or aquat to its actual aqa. It raflacts a proparty in which some of tha shurt-llvad budding cuinponarits hava baan raplacad. and
 some shoit-llvod building componenis are at or near tha and of thair physical Ufa axpactancy; howovar, lhay still function adaquataty. Most minor repairs hava baan addiassad on an
 ongoing basis lasulting in an adaqtialaly tnainluinad proparty.
 C5
  I he improvements feature obvious deferred maintenonco and are in need of some significant repairs. Some building components need repairs rehabilitation, or updating. I he
 funclionul utility und overall livabilily Is somewhat diminished due to condllion. but the dwelling remains useable and funcUonal as a residence.

 Nota. Some significant repairs ara iiaadod to tha improvements due to the lack of adequate maintenance it rafleots a propeity in which many of its short-lived building components
 are at the and of or hava axceadad thair physical Ufa expectancy hut rainarn functional
 CG
 The iniprovomonts have substantial damage or deferred maintenance with deficiencies or defects that are severe enough to affect the safety, soundness, or structural integrity of
 the tmprovomonts. I no tmprovomonts oro in need of substantial repairs and rohabilitatlon. including many or most major components.

 Note: Substantial ropairs are needed to the improvements due to the lack of adequate maintenance or property damage. It reflects a property with conditions severe enough to
 nffcci the sufcly soundno.i.i. ur slruclunil integrity of the irriprovtrrncnia

Quality Ratings and Definitions
 Q1
 Dwollingn with this qunlity rating aro usually tiniqua structuras that aro individually dasignad hy an archltnct lor a spacttiad user. Such rasidancas typically ara constructod Irom
 datailad nrchiledural plans and spofsticatinn.s and tnatura an axcaptionally high lavnl ot workmanship and axcaphonally high-grade materials throughout the mtaoor and axlanor ot
 the structure. The design features exceptionally high quality exterior refinements and ornamentation, and exceptionally high-quality interior refinements. The workmanship,
 ineluriuls. und nnislies thrcuyhout Uie dwelling ere of exceplicnuliy high quelily.
 Q2
 Dwellings with this quality rating are often custom designed for construction on an individual property owner's site. However, dwellings in this quality grade are also found In
 higtvquallty tract developments featuring residence constructed from individual plans or from highly modified or upgraded plans The design features detailed, high quality exteriof
 om.hmonlotloh high-qunllty Iniorior rotinomoma. and dntnil. Tho workmanship, matorlals. and finishoa tfiroughout tha dwolUng am gannrally of high or vary high quality.
 Q3
 Dwellings with this quality rating are residences of higher quality built from individual or readily available designer plans in above standard residential tract developments or on an
 Indivlduul prupurty owner's site. Ttiw dusigii Includes uigiiinceiil exterior oriiuiiienleliori and interiors Ihwt ere well finished. Ttie wurkineiiship exceeds uccepleble ulsnderds stid
 many materials and linishea througliuut die dwelling iiava been upgraded from "atock" standards.
 Q4
 Dwellings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans are utilized and the design includes
 ndcqunto fonoatrntlon .md some exterior ornamentation and interior roflnomonts. Motenals workmanship, finish, and oquipment are of stock or builder grade and may feature some
 upgrades.

 Q5
 LTwelllngs with thi.s quality rating tontiirn economy of constrvjction nnd bo.sic functionality as mam ron.sidnrntions Such dwellings Icaturo a plain design u.sing readily nvallnble or
 basic floor plans lentiiring rrlnlmal tnnnstration and basic finlshos with minimal oxtorlor ornamentation and limited intorior detail. I hose dwrtilings moot minimum building codes and
 are constructed wth inexpensive, stock materials with limited refinements and upgrades.
 Q6
 Dwellings with this quality rating aro of basic quality and lower cost: some may not be suitable for year-round occupancy. Such dwollings aro often built with simple plans or without
 plans uflen ulili^ihg tha luwusl quality building materials. Sucti dwellings are often built or expanded by persons who are professionally unskilled or possess only miriiinal
 construction skills, electrical, plurntting, and ottier mechanical systems and equipment may be minimal or rion-uxisteril. Older dwellings may feature cue or more subslandaid or
 non-conforming additions to the original structure.


Definitions of Not Updated, Updated, and Remodeled
 Not Updated
       Little or no updating or modornization. This description includos, but is not limited to, now homes.
       Resldunlia! properties of flfleen years of age or less often leflect an original condition with no updating, if no major componeiils have been leplaced or updated Those
       over rifleen years of age are also considered not updated if the appliances, fixtures, and finishes are predominantly dated. An area that is 'Not Updated' may still be well
       maintained and fully functional, and ttits rating does not necessanly imply ooforrad mainterranco or physical /functional detenoration

 Updated
       Tho area of the home has been modified to meet current market expectations. These modifications are Umltod In terms of both scope and cost.
       An updiUnd arn.T of tho homo shniild tinve .nn imprnvod Irrok anri fool, or functional utility. Ch.TngoB th.nl cnnBtituto upd.ntRS inciudo refurbiKhmonI .nnd/or roplncing
       components to meet existing market cxpcclationa. Updates do not include significant alterations to the existing structure .


 Remodeled

       Significant finish and/or structural changes have been made that Increase utility and appeal through complole replacomertt and/ or expansion.
       A mmnrlflind nron rnfincia tiindamnntal changes that inr.liiOn multiple aflerntions These alterations may include some or all of the following- raplacemant of a major
       component (cabinot(s), bathtub, or battiroom bio), relocation of plumbing/gas rixtures/appliancoe, significant structural .tltorations (relocating walls and/or the addition of)
       nquuru fooUigc). This would iridudt: n cumplcic gulliiiu uiul rebuild


Explanation of Bathroom Count
       Three quarter baths arc counted as a full bath in all cases. Quarter baths (baths that feature only o toilet) arc not Included in ttie bathroom count The number of full and
       limlf bstliv itt repuilud by xttphfruling Uie two values using a pwrtud, wliwiu IIiw full belli uuuiit ix reprexwiited lu the lufl of tlie period end the helf belli cuuiil is repieisenleii
       to Ihe right o( the puriud.
       Example:
       3 2 indlcntcts three full baths .snd two half baths.

 UAtiDGF n-2nii (Uodnifid 1'2014)
                                           Abbreviations Used in Data Standardization Text
                      Case
                       Case17-54050-wlh
                            1:20-cv-01843-WMR-RGV
                 Abbreviation
                                         Doc 64-2 Filed
                                            Full Name
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                                                                       Fields Where This Abbreviation May Appear
                                                                                                                    File#   Ri 5.15407

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                 A
                                      Exhibit First Amended Complaint Page 62 of 76
                                            Advarae                           Localinn & View

                 nc                         Acrofi                            Aroa. Site

                 AdiPrk                     Adjacent to Park                  Location
                 AcljPwr                    Adjacent to Power 1 cnea          I ocvitinn

                 ArmLth                     Arms Length Sato                  Salo or Hinnncing Concnssions                              |
                 AT                         Attacl-'sd Structure              nealgn (Stylo)                                             !
                 0                          Beneficial                        Location & View                                            1

                 ba                         Bathroom{3j                       Basement & Finiahed Rooms Below Grade                      j
                 br                         Bedroom                           Basement & Finished Rooms Below Grade                      i
                                                                                                                                         t


                 BttyRd                     Busy Rued                         Location

                 c                          Contracted Date                   Dote of Sale/Time

                 c:nsh                      CflSh                             Sale or Financing Concessions
                 Cointii                    Coniinerciel InflueMue            Location

                 Conv                       Conventional                      Sale or Financing Concessions
                 r.p                        Carport                           Garage/Carport                                             j
                 CrlOnJ                     Court Ordered Sale                Salo or Financing Cuncussiorm                              |
                 CtySky                     City View Skyline View            View                                                       1
                 CtyStr                     City Street View                  Vlow                                                       i
                 cv                         Covered                           Garage/Carport
                 DOM                        Days On Market                    Data Sources                                               |
                 DT                         Detached Structure                Design (Style)                                             i
                 rtw                        Driveway                          Garage/Ca rport
                 o                          Expiration Date                   Date of Salo/Timc

                 Fslala                     Fstale Sale                       Salo or Financing Concessions

                 FHA                        Federal Housing Autliorlty        Sale or Financing Concessions

                 a                          Garage                            Garage/Carport                                             i
                 90                         Attactied Garage                  Garage/Carport
                 gbi                        Built-in Garage                   Garage/Carport
                 gd                         Detached Garage                   Garage/Carport
                 GlfCse                     Golf Course                       Location

                 GIfvw                      Golf Course View                  View

                 GR                         Garden                            Design (Style)

                 HR                         High Rise                         Design (Style)

                 In                         Interior Only Stairs              Basement ft Finished Rooms Below Grade

                 Ind                        Industrial                        Location & View

                 Liating                    Listing                           Sale or Financing Concessions                              |
                 Lndfl                      Landfill                          Location                                                   |
                 LtdSghl                    Limited Sight                     View                                                       {
                 MR                         Mid RISC                          Design (Style)                                             |
                 Mtn                        Mountain View                     View

                 N                          Neutral                           Location & View                                            |
                 NonArm                     Non Arms Length Sale              Sale or Finoncing Concessions                              [
                 0                          Other                             □asement & Finished Rooms Below Grade                      |
                 0                          Other                             Design (Style)                                             |
                 op                         Open                              Garage/Carport                                             '
                 Prk                        Park View                         View                                                       i

                 Pstrl                      Pastoral View                     View

                 PwrLn                      Power Lines                       View

                 PubTm                      Public Transportation             Location

                 Holo                       Relocation Sain                   Sale or Financing Concessions
                 KbO                        REO sale                          Sain or Financing Concessions
                 Res                        Residential                       Location & View

                 RH                         IJSDA      Rural Housing          Sale nr Financing CnncnssinrtK
                 rr                         Recreational (Rocj Room           Basement & Finished Rooms Below Grade

                 RT                         Row or Townhousn                  Dnsign (Stylo)
                 3                          Settlement Date                   Dote of Solc/Tlmc
                 SO                         Seiiii-dalactied Sliuclure        Deuigii (Style)

                 Sliorl                     Shoit Sale                        Sale or FInanuIng Coiiueasloiia
                 qT                         Square Feet                       Area. Site, Basement
                 xgrn                       Square Meiers                     Area.Site
                 Jnk                        Unknown                           Date of Snio/Tlme

                 VA                         Veterans Administration           Sale or rinuncmg Cuncessiomt
                 w                          Withdrawn Date                    Dato of Salo/Tlmc
                 wo                         Walk Out Basement                 Besement & Finiahed Rooms Below Grade
                 Woods                      Woods View                        View

                 Wlr                        Water View                        View

                 WIrFr                      Water F rontnge                   Location

                 wo                         Wiilk Up Baacimrinl               Oesiimnnt & Flnishciri Rooms Bnlow Griidc




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Bunwvr/'CliL-iU LtSA GARDNER
                                Exhibit First Amended Complaint Page 63 of 76
I'njjxily ,A.kliv.->s 275 Butler Bridge Or
Cily      McDonough                            County Hunry   Stele   GA   Zip Code 30252
Iciuicr    Bank of Amorica - HFI 2nd Lion




                                                                                  FRONT OF SUBJECT PROPERTY


                                                                                   Subject Front
                                                                                   275 Butler Bridge Or




                                                                                  REAR OF SUBJECT PROPERTY




                                                                                  STREET SCENE


                                                                                   Sublect Street

                                                                                   275 Butler Bridge Dr
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  Cil.v    McDonougti                                  County Honry   Stale   GA   Zip Code 30252
  lender    Bank of Amorlca - HFI 2nd Lion
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                                                                                             Comparable Sale 1
                                                                                             585 Snnpping Shools Rd
                                                                                              McDonough              GA   30262
                                                                                             DnH! of         s02/ia:c01/1S
                                                                                             Sale Price:       385.000
                                                                                             Sq. Fl.;        3.222

                                                                                             $ / Sq. Ft.:      119.49

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                                                                                             Comparable Sale 2
                                                                                             430 I lorper Rd    _
                                                                                             lytcDpnough             GA   30262

                                                                                             Date ot Sale:   s02/19;c01/19
                                                                                             Sale Price:     460,000
                                                                                             Sq. Ft.:        2.908

                                                                                             $ / Sq. Ft.:      158.18




                                                                                             Comparable Sate 3
                                                                                              1000 Airline Rd

                                                                                              Mc.Donounh             GA   30252

                                                                                             Date of Sale:   s10/18:c10/18

                                                                                             Sale Price;     509.000

                                                                                             Sq. Ft.:        2.610
                                                                                             $ / Sq. Ft.:      195-02
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Ho^o^sv^'Cl>.•lll   LISA GARDNER

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                                         Exhibit First Amended Complaint  Page   65 of 76
Cily     MuDonough                             County Huriry    State   GA   Zip Coda 30252
lender    Bank Of America - HFI 2nd Lion




                                                                                       Comparable Sale 4
                                                                                       575 Chnmbcrs Rri

                                                                                        McDonough               GA   30253

                                                                                       Dntn of Salt!;   s09/18:c08/18
                                                                                       Sale Price:      365.000
                                                                                       Sq. FL:          4.086

                                                                                       $ / Sq. Ft.:     89.33




                                                                                       Comparable Sale 5
                                                                                        120 Robson Tri

                                                                                        Mcponqugh               GA   30252

                                                                                       Date of Sale:    Active
                                                                                       Sale Price;      489,000

                                                                                       Sq. Ft.:         3.619
                                                                                       S / Sq. Fl.:     135.16




                                                                                       Comparable Sale 6
                                                                                       200 Harris Dr

                                                                                       I ocust Grove            GA   30248

                                                                                       Date of Sale:    Active

                                                                                       Sale Price;      525.000

                                                                                       Sq. Ft.:         4.2SS

                                                                                       $ / Sq. Ft.:     123-38
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Buiiuwvr/CljLiU  LISA GARDNER
                                 Exhibit First Amended Complaint Page 66 of 76
Pioi.<-ily          275 Butler Bridge Dr
Cily      McDotiouyh                            County Horiry       State   GA   Zip Code 30252

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                                                                                           Comparable Sale 7
                                                                                            151 Tolfnlr Ln

                                                                                            McDonough                GA     30253

                                                                                           Dale of Sale;     s09/18:c0S/18
                                                                                           Sale Price:       385,000
                                                                                           Sq. Ft:           6.047

                                                                                           $ I Sq. Ft.:      63,57




                                                                                           Comparable Sale 8
                                                                                            2027 Airline Rd


                                                                                                                            30252
                                                                                           Date of Sale: s04/18:c02/18

                                                                ¥                          Sale Price;
                                                                                           Sq. Ft:
                                                                                                             605,000
                                                                                                             3,744

                                                                                           $ / Sq. Ft.:      161.59




                                                                                           Comparable Sale 9



                                                                                            Date of Sale:

                                                                                            Sale Price:

                                                                                            Sq. Ft:

                                                                                           $ / Sq. Ft.:
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                            COMPARABLE No. 8

    fi -ffl-Lix             2027 Airiiiie Kc
                            ■•trOonnii(jii . GA 3075?                                                                                         SUBJECT
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                                                                                                                                              275 Buller Bridge Dr
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annie Mao Market Conditions Results




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  annie Mae Market Conditions Results
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   ventory Analynis                                                                              Prior 7-12 Months           Prior 4-6 Months    Current-3 Months
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 ilcclian SjIos & Lmt Price DOM Sale Liat*-. Ratio                                                Prior 7-12 Montfin         Prior 4-6 Month s   Current-3 Months



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  loOian List Pr co ana DOM For Other Statuses                                                    Prior 7-12 Monttis         Prior 4-6 Months    Currcnt-3 Months




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  •tvwiitory Aiialy«is                                                                                               Prior 7-12 Months                 Prior 4-6 Months   Current-3 Months
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   Aftll.m Silica & Liat Price. DOM. Salo'List"» Katio                                                               Prior 7-1 2 Months                Prior 4-6 Months   Curront-3 Months


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   .tcOian Livt Price and DOM For Other Statuses                                                                         Prior 7-1 2 Months            Prior 4-6 Months   Curront-3 Months
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-annie Mae Market Conditions Results


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nventory Analysis                                                                                                                 Prior 7-12 Montfis         Prior 4-6 Monttis   Ciirrwnt-3 Montliti
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.Iftli.in S.iles & List Price DOM Sale.List=» R.stio                                                                              Prior 7-12 Months          Prior 4-6 Months    Curront-3 Months


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          Bankof America
          PO 80X31690
           Tampa. FL 33631-3690



                                                                                                        Account No.:     2763

                                                                                                        Date
     AB 0520       959 763        00065 #(801 AB 0.412                                                  May 16. 2019
          LISA C GARDNER & DAVID A GARDNER
             BUTLER BRIDGE DR                                                                           Property Address:
          MCDONOUGH        GA 30252
                                                                                                        275 BUTLER BRIDGE DR
                                                                                                        MCDONOUGH, GA 30252




Dear USA C GARDNER & DAVID A GARDNER,

Thank you for your participation in the home loan assistance process. Due to a recent change in
the status of your home loan assistance request, you will no longer be assigned to a dedicated,
single point of contact.

In the future, if you have any questions or require further assistance concerning your home loan,
please call 800.669.6650, Monday through Friday, 8 a.m. to 5 p.m. local time.
We appreciate the opportunity to serve your home loan needs.

Home Loan Team
Bank of America, N.A.




Bank of America, N.A. Member FDIC. Equal Housing Lender ® O 2018 Bank of America
Corporation


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Bank of America, N.A. is required by law to inform you that this communication is from a debt
collector. If you are currently in a bankruptcy proceeding or have previously obtained a discharge
of this debt under bankruptcy law, this notice is for informational purposes only and is not an
attempt to collect a debt, a demand for payment or an attempt to impose personal liability for a
discharged debt.
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                          PHELAN HALLINAN DIAMOND & JONES,PLLC
                                       11675 Great Oaks Way, Suite 320
                                            Alpharetta, OA 30022
                                          Telephone: 770-393-4300
                                              Fax: 770-393-4310
May 7, 2019                                                              Representing Lenders in Georgia

LISA C. GARDNER
DAVID A. GARDNER
    BUTLER BRIDGE DR
MCDONOUGH,GA 30252



Property Address:       275 BUTLER BRIDGE DR
                         MCDONOUGH,GA 30252
Loan #:                        2763



Dear Borrower:


THIS FIRM IS A DEBT COLLECTOR ATTEMPTING TO COLLECT A DEBT. ANY
INFORMATION THAT WE OBTAIN WILL BE USED FOR THAT PURPOSE.


The loan referenced above has been referred to this law firm. Please be advised that this notice is being sent
to you pursuant to the requirements of Federal law.

The amount of the debt as of the date of this letter is $184,484.24. However, the amount needed to reinstate
or pay off your loan changes daily due to any additional interest, late charges or other fees that may accrue.

The debt is owed to BANK OF AMERICA,N.A., who may not currently be the recorded holder of the
Security Deed.

This letter is notice that unless you dispute the validity of the debt or any portion thereof within thirty (30)
days after receipt of this letter, we will assume that the debt is valid. If you notify us in writing at the above
address within the thirty-day period that the debt (or any portion thereof) is disputed, we will obtain
verification of the debt, and a copy of such verification will be mailed to you. We will also provide to you
the name and address of the original creditor (if different from the current creditor), upon your written
request within the thirty(30) day period.

If you were previously in bankruptcy and received a Chapter 7 discharge, this correspondence is not and
should not be construed as an attempt to collect a debt. The action we have been requested to take would be
limited to any ultimate foreclosure of the above referenced property. If you are currently under bankruptcy
protection, please fax your bankruptcy case information to us at 770-393-4310.

                                                          Sincerely,
                                                          Phelan Hallinan 0famoI«L§Jones,
                                                          Blair Weatherly, Esq., Id. No.67.

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Case
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       1:20-cv-01843-WMR-RGV
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 Bankof          America@.                                                                                Custcmer Narno:
                                                                                                          Lisa C. Gardrier
                                                                                                          David A. Gardner

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            Lisa C. Gardner
                                                                                                          November 1 6. 201   I
            Davicl A. Gardner
                                                                                                          Customer service:
            275 BUTLER BRIDGE DR                                                                          800.669.O102
            MCDONOUGH, GA 30252.4909
                                                                                                         Aceount information:
                                                                                                         bankofamerica.conr




OUR RECORDS INDICATE YOU RECEIVED A DISCHARGE OF ALL CIR PORTION OF YOUR PERSONAL
CIBLIGATION TO REPAY THE DEBT ASSOCIATED WITH THE ABOVE REFERENCTD LOAN. WE ARI LEGALLY
REQUIRED TO SEND YOU THIS NOTICE PURSUANT TO THE REAL SSTATE SETTLEMENT PROCEOURES ACT
AND OTHER RE.QUIREMENTS. THIS NOTICE 15 FOR COMPLIANCE PURPOSES ONLY AND IS NOT AN A'TTEMPT
TO COLLECT A D[BT, A DEMAND FOR PAYMENT OR AN ATTEMPT TO IMPOSE PERSONAL LIABILITY FOR A
 DISCHARGED DEBT.

Flease call us as soon as possible to see if we can help you with your
heime equity account at 800.659.0i 02, Monday througLr Thursday, a.m.                                    I
to 12 a.m. and Friday, B a"m. to p.m. Eastern.     I
While we will not take any steps to collect a debt from you personally, we have a right to proceed against the
property securing the debt and invoke foreclosure based on the terms of the mortgage contract. lf yoit would
like to stay in your horne or otherwise avoid foreclosure, you may be interested in the options provided in this
letler. Please read this letter carefully.
We noticed ysu're behind on your mortgage payments and realize you might be having a difficult tinre. We
understand these things can happen and want yoLr to know about ways we may be able to help.

We can provide free help urith your home equity account so call us right away. Waiting could affect ynur ability
to take advantage of any of the programs you may be etigible for,

Already started a loam modificatisn with us?
You may have already reached out to us before we mailed you this letter. lf you have, please continue to work
with your assigned Cr:stomer Relationship Manager, and contact them with any questions about this letter.




Bank r:f Arnerica, N.A. is required by la.w to inform you that this communication is from a debt collecior. lf you are currently in
a bankruptcy.proceeding or have pieviously obtain6d a discharge of this debt under bankruptcy law, this n6tice is for
informational purposes only                                        -debt,
                                and is not an ittempt to collect a     a demand for paymenl     orin attempt to impcse-personal
liability for a discharged debt.
RQ-261 2899-r                                                                                                            c3_9502_653883
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  F{ome equrity account assistance options
  We offer diffenent programs to help you avoid foreclosure and ke ep your home equity account and there are no
  fees associated with any of them. Depending on your situation, we may be able to help you with cn€ or more of
  these options:

          '     Adding outstanding amounts to yor-rr balance to bring your account up to date.
          .     Changing the interest rate.
          .     Exiending the term of your loan.
          .     Delaying repayment of a portion of the account until the end of the term.

 You can also seek assistance at no charge from U.S. Department of Hoirsing and Urban Development (HUD)
 approved housing counselors by calling 800.569.4287 or accessing the search tool at
 fittp//wrruw.hud.gov/offlees/hsglsfh/hcc/hcs"cfn'a to find a counselor near you. The HUD-approvecJ
 counselors can wcrk with you to ereate a household budget and develop an action plan to help reclure your
 househsld debt. Additional assistance in understanding this notice is available at the HOFH l-lotgine a:urnber
 E88.995,FtSpE i4673).

 !f you need help, please call us today
 We want  ta find a solution for you. Please cali us at 800-669.0102, Monday through Thursday,                                                    I a.rn. to I Z a.rn
 and Friday, B a.nl. to B p.nr. Eastern to discuss your possible options.

 lf you're unable to call us, you can urrite us at:

                                                                              Bank of Arnerica, N.A.
                                                                                 Home Rerention
                                                                                 6860 Argonne St
                                                                                          Unit A
                                                                                Denver, CO 80249
lf you decide to apply for assistance with your home equity account we may use a property valuation to
€stimate the n'rarket value of -your property. if so, we wifl send you a copy for free.

We're here to help                          - pf,ease call us as soon as possibl€.
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P0 Box 9420i9
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Bank of America, N.A. Member FDIC. Equal Housing Lender                         fil.   @ 2O'lB Bank of America Corporation

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